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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

CASA DE MARYLAND, et al.,               )
                                        )
             Plaintiffs,                )
                                        )   Civil Case No. 17-cv-2942 (RWT)
     v.                                 )
                                        )
U.S. DEPARTMENT OF HOMELAND             )
SECURITY, et al.,                       )
                                        )
             Defendants.




             PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO
          DISMISS OR, IN THE ALTERNATIVE FOR SUMMARY JUDGMENT
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                                      INTRODUCTION

       On September 5, with the stroke of a pen ending DACA, senior Government officials

upended the lives of 800,000 immigrants who were brought to this country as children, stripping

them of their right to work and visit family members living overseas, impairing their ability to

pursue an education, and putting all in fear that they will soon be deported separating many from

U.S. citizen family members. This action was the culmination of a long series of threats and

derogatory statements by senior Government officials against persons of Mexican, Central

American, and Latino heritage, and the Government readily acknowledges that 93 percent of the

affected individuals have such ancestry. While the Government decided to rescind DACA, it

maintains other deferred action programs that do not have similar demographics.

      Under well-established legal principles, the Government’s actions violate both the Equal

Protection and Due Process Clauses of the Constitution; and the manner in which the Government

rescinded DACA violates federal laws (including the Administrative Procedure Act (APA)) and

basic principles of fairness and equity. Courts have found similar challenges justiciable and

comparable government action to be illegal and unconstitutional.

      The Government’s motion is little more than a bald request to insulate the September 5

action and immunize the Government officials who made this discriminatory decision from

scrutiny. Ignoring the correct pleading standards, the Government has submitted a trial brief

masquerading as a Rule 12 motion predicated on (i) factual proffers found nowhere in the

Complaint raising contested issues of fact, (ii) a bowdlerized presentation of the Complaint that

simultaneously omits material allegations and mischaracterizes Plaintiffs’ claims, and (iii) a

misleading discussion of the key legal principles (the “Motion” or the “Government’s Motion”).

      Our Constitution and laws specifically provide for judicial review under these

circumstances—where there is patent evidence that the Government is proceeding outside of


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constitutional norms and in violation of the law. It is for this reason that Judge Garaufis in the

Eastern District of New York, hearing a similar challenge to the DACA rescission, rejected the

Government’s arguments, see Batalla Vidal v. Duke, No. 16-4756, 2017 WL 5201116, at *8-13

(E.D.N.Y. Nov. 9, 2017) (attached as Freedman Decl. Ex. 1)1, and no court has found that the

Government’s arguments have merit. This Court should not be the first. The motion should be

denied.

          FACTUAL ALLEGATIONS NOT ADDRESSED IN GOVERNMENT’S MOTION
            AND STATEMENT OF MATERIAL FACTS AS TO WHICH THERE IS A
                               GENUINE DISPUTE


          Under the relevant pleading standards (discussed below), (i) the Court’s consideration of

the Government’s 12(b)(6) motion must be based on the well-pled allegations in the Complaint,

and (ii) the Government’s motion for summary judgment must be denied if there are material facts

in dispute. The Government’s Motion fails to address the following facts:

          1. In promoting DACA, the Government promised that Dreamers would be able to obtain

employment authorization, travel outside the United States for educational, employment, or

humanitarian purposes, attend educational institutions, be eligible for Social Security and

disability, and be present in the United States. Compl. ¶¶ 10, 72-78, 135-136.

          2. In actively promoting DACA, the Government promised Dreamers that the personal

information they submitted with their applications would not be shared with immigration

enforcement authorities such as ICE or CBP, with very limited exceptions for specifically

described circumstances. Compl. ¶¶ 10-16, 79-91. To reinforce this Commitment, DHS (i)

adopted a Privacy Impact Assessment specifically prohibiting such sharing other than those limited


1
 The Declaration of John A. Freedman (“Freedman Decl.”) in Opposition to the Government’s
Motion to Dismiss or For Summary Judgment is filed herewith. All Exhibits to the Freedman
Declaration will be designated as “Ex.”


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specified circumstances and making clear that the protections of the Privacy Act would extend to

DACA recipients, and (ii) senior DHS officials affirmed that the commitment “must continue to

be honored.” Compl. ¶¶ 82-88.

       3. 93 percent of the over 800,000 individuals who have received DACA are of Mexican,

Central American, or Latino descent. Compl. ¶¶ 24, 157, 159.

       4. The Government recognized that DACA created certain rights that could not be taken

away without due process, and adopted a comprehensive set of Standard Operating Procedures to

administer the DACA program the (“SOP”) (Ex. 23). Compl. ¶¶ 78, 137. The SOP contained

procedures to safeguard DACA applicant information. Compl. ¶ 88.

       5. Pursuant to the SOP, the Government routinely sent renewal notices (referred to as

“180-day notices”) to DACA recipients starting 180 days prior to their expiration. See Batalla

Vidal Interrogatory Response No. 9 (Ex. 2).

       6. On February 20, 2017, DHS Secretary Kelly announced new enforcement priorities, but

specifically left DACA intact. Compl. ¶ 111 n.64 (Ex. 3).

       7. On June 15, 2017, DHS Secretary Kelly announced further changes to enforcement

priorities, but again specifically left DACA intact. (Ex. 4).

       8. On or about July 15, 2017, the Government stopped sending 180-day renewal notices

to DACA recipients to inform them that their DACA was expiring. See Batalla Vidal Interrog.

Resp. No. 9 (Ex. 2).

       9. The decision to rescind DACA followed a long series of threats and derogatory

statements by senior Government officials against persons of Mexican, Central American, and

Latino heritage. The Complaint identifies a sample of 18 such statements and four threats, which

have continued to the present. Compl. ¶¶ 25, 94-96 & 111.




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       10. In August 2017, approximately 15 DHS employees participated in a meeting to discuss

the rescission of DACA. Hamilton 10/20/17 Tr. 94-96 (Ex. 5). Other than from Duke, there are

no materials from any of these individuals in the Administrative Record.

       11. Also in August 2017, representatives of DHS, the Department of Justice, and the White

House participated in a meeting to discuss the rescission of DACA. Hamilton 10/20/17 Tr. 102-

105 (Ex. 5). Other than from Duke, there are no materials from any of these individuals in the

Administrative Record.

       12. The decision to rescind DACA was jointly made by the Department of Justice and

DHS. Sept. 14, 2017 Batalla Vidal Tr. 13, 26 (Ex. 6).

       13. When the Government rescinded DACA, it left numerous other deferred action

programs in place. Compl. ¶¶ 5, 68, 159. None of these programs benefit the number of Mexican,

Central American, or Latino individuals who are beneficiaries of DACA. Compl. ¶¶ 68, 157-60.

       14. The Government did not follow notice-and-comment procedures in rescinding DACA,

nor did it follow the SOP. Compl. ¶¶ 118-119, 121.

       15. As detailed in the Complaint, the Government has revoked the prohibition on sharing

DACA applicant data with immigration enforcement officials. This is evident from the number of

instances in which deportation proceedings have been started against Dreamers, as well as (i) the

April 27, 2017 DHS memorandum purporting to rescind all privacy commitments to Dreamers,

(ii) the DHS guidance on the Rescission, and (iii) Acting Secretary Duke’s public denial that there

was any information sharing prohibition. Compl. ¶¶ 108-112.

       16. Following September 5, the Government did not send notices to DACA recipients

eligible to renew their DACA status advising them that their DACA renewal applications must be

received by October 5, 2017. See Batalla Vidal Interrog. Resp. No. 9. (Ex. 2).




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       17. Of the approximately 154,200 individuals who were eligible to renew their DACA

prior to the October 5, 2017 deadline, only approximately half (78,975) submitted renewals. The

Government has been rejecting more than half of the renewal requests. Batalla Vidal Interrog.

Resp. No. 7. (Ex. 2).

       18. The Government has not been following the SOP or otherwise providing DACA

recipients the opportunity to be heard concerning the termination of their DACA status, their work

authorizations, or their advance parole requests. Compl. ¶¶ 97-106, 134-139.

       19. Both before and following the September 5 decision, the President stated that he had

the authority to reinstate DACA without congressional authorization. Compl. ¶¶ 123-124.

                                          LEGAL STANDARDS

       The Government’s summary of the relevant legal standards, Gov. Br. 12-14, omits certain

important points governing the Court’s review of the motion.

       1. The Government’s Rule 12(b)(1) motion is a partial one, in that its justiciability

arguments do not address certain counts in the complaint (Counts I-III, VI & VII) and it does not

contest the standing of the Individual Plaintiffs. The partial nature of the motion is fatal to the

Government’s 12(b)(1) arguments, as courts have held that the presentation of a single justiciable

claim is sufficient to deny a Rule 12(b)(1) motion. See, e.g., Bostic v. Shaefer, 760 F.3d 352, 370

(4th Cir. 2014) (citing Dep’t of Commerce v. U.S. House of Representatives, 525 U.S. 316, 330

(1990) (“a case is justiciable if. . . plaintiffs have standing as to a particular defendant”); Rumsfeld

v. Forum for Acad. & Inst. Rights, Inc., 547 U.S. 47, 53 n.2 (2006) (“[T]he presence of one party

with standing is sufficient to satisfy Article III’s case or controversy requirement”). Beyond these

threshold issues, in deciding a Rule 12(b)(1) challenge, “the plaintiff is afforded the same

procedural protection as she would receive under a Rule 12(b)(6) consideration,” and thus the

Court must accept the facts alleged in the complaint as true. Beck v. McDonald, 848 F.3d 262,


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270 (4th Cir. 2017) (internal quotation marks omitted). In determining a Rule 12(b)(1) motion,

the Court “may consider evidence outside the pleadings without converting the proceeding to one

for summary judgment.” White Tail Park, Inc. v. Stroube, 413 F.3d 451, 459 (4th Cir. 2005)

(relying on affidavits to find plaintiffs have standing). The Court must deny a Rule 12(b)(1)

motion “if the complaint alleges sufficient facts to invoke subject matter jurisdiction.” Beck, 848

F.3d at 270.

       2. In deciding a Rule 12(b)(6) motion, a court must assess whether the Complaint contains

sufficient factual matter, accepted as true, “to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim is plausible when the plaintiff “pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable.” Id. The

Court’s review is limited to “‘well-pled facts in the complaint[, which it must view] in the light

most favorable to the plaintiff.’” Goldfarb v. Mayor & City Council of Balt., 791 F.3d 500, 508

(4th Cir. 2015).

       3. Citing the same grounds as its Rule 12(b)(6) motion, the Government has also moved

for summary judgment under Rule 56. Gov. Br. 31 n.6. A court may convert a Rule 12(b)(6)

motion into one for summary judgment only if the nonmoving party has had “a reasonable

opportunity to present all the material that is pertinent to the motion.” Gay v. Wall, 761 F.2d 175,

177 (4th Cir. 1985). A nonmoving party may file a declaration under Rule 56(d) to demonstrate

that a reasonable opportunity for discovery has not been afforded. See Harrods Ltd. v. Sixty

Internet Domain Names, 302 F.3d 214, 245 (4th Cir. 2002). Plaintiffs are submitting a Rule 56(d)

declaration with this opposition identifying the specific areas where facts essential to the

opposition are not available. See Declaration of Elizabeth J. Bower (“Rule 56(d) Decl.”).




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       On the merits, a court may enter summary judgment only if “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to judgment

as a matter of law,” and in conducting the review, the court must “construe the evidence in the

light most favorable” to the non-moving party and “draw all reasonable inferences in [the non-

moving party’s] favor.” Hill v. Lockheed Martin, 354 F.3d 277 (4th Cir. 2004) (en banc),

abrogated on other grounds by the Univ. of Tex. Sw Med. Ctr. V. Nassar, 133 S. Ct. 2517

(2013). Here, the Government has not supported the Motion with a Rule 56(c) statement of

material facts as to which there is no dispute. “[W]here the movant fails to fulfill its initial burden

of providing admissible evidence of the material facts entitling it to summary judgment, summary

judgment must be denied, even if no opposing evidentiary matter is presented, for the non-movant

is not required to rebut an insufficient showing.” Ray Commc’ns, Inc. v. Clear Channel

Commc’ns, Inc., 673 F.3d 294, 299 (4th Cir. 2012).

                                           ARGUMENT

I.     THERE IS NO BASIS TO DISMISS THE COMPLAINT UNDER RULE 12(b)(1).

The Government’s partial Rule 12(b)(1) motion is without merit. This is evident because (i) the

Government’s arguments regarding justiciability do not apply to most of the claims in the

Complaint (Counts I-III, VI and VII); (ii) the Government does not contest the standing of many

of the Plaintiffs, and (iii) the District Court for Eastern District of New York decisively rejected

these arguments in a parallel case involving a similar challenge to DACA. See Batalla Vidal v.

Duke, No. 16-4756, 2017 WL 5201116, at *8-13 (E.D.N.Y. Nov. 9, 2017). Under well-established

legal principles, the claims are justiciable and Plaintiffs have standing.

       A.      The Claims Asserted in the Complaint Are Justiciable

               1.      The Government’s Justiciability Arguments Do Not Apply to the Non-APA


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                       Claims

       The Government spends the first ten pages of its argument contending that the DACA

rescission is presumptively unreviewable under the APA and the INA. Gov. Br. 15-21 (citing 5

U.S.C. § 702(a)(2)); Id. 21-24 (citing 8 U.S.C. § 1252(g)). As discussed below, the Government

is wrong. In any event, this argument does not apply to Plaintiffs’ non-APA claims. “[E]ven

where action is committed to absolute agency discretion by law, courts have assumed the power

to review allegations that an agency exceeded its legal authority, acted unconstitutionally, or failed

to follow its own regulations.” Garcia v. Neagle, 660 F.2d 983, 988 (4th Cir. 1981). Moreover,

“even if agency action is committed to its discretion by law, a court may still determine whether

the action is constitutional . . . because the Due Process Clause provides a manageable standard

that allows for review.” Inova Alexandria Hosp. v. Shalala, 244 F.3d 342, 347 (4th Cir. 2001).2

This review exists to ensure that agencies do not exercise discretion in an unconstitutional manner.

       To the extent the Government argues that principles of prosecutorial discretion render the

DACA rescission unreviewable, Gov. Br. 15-21, such an argument ignores the Supreme Court’s

clear statement that “a prosecutor’s discretion is ‘subject to constitutional constraints.’” United

States v. Armstrong, 517 U.S. 456, 464 (1996) (citing United States v. Batchelder, 442 U.S. 114,

125 (1979)); see also Wade v. United States, 504 U.S. 181, 185-86 (1992) (“[A] prosecutor’s

discretion when exercising that power is subject to constitutional limitations that district courts can


2
  Even where a decision is committed to agency discretion, the Supreme Court has repeatedly
declined to find that constitutional claims are presumptively unreviewable. See, e.g., Webster v.
Doe, 486 U.S. 592, 603 (1988) (rejecting the government’s assertion that § 701(a)(2) precluded
judicial review over individual’s constitutional challenge despite the fact that action was a matter
“committed to agency discretion by law” and emphasizing that “where Congress intends to
preclude judicial review of constitutional claims its intent so must be clear” in order “to avoid the
‘serious constitutional question’ that would arise if a federal statute were construed to deny any
judicial forum for a colorable constitutional claim.”) (citation omitted); Franklin v. Massachusetts,
505 U.S. 788, 801-03 (1992) (holding constitutional claims justiciable even though the claims were
not reviewable under the APA).


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enforce. . . . Thus, a defendant would be entitled to relief if a prosecutor refused to file” a motion

and “the refusal was based on an unconstitutional motive.”).

       To the extent the Government argues, that in enacting 8 U.S.C. § 1252(g), Congress

stripped courts of the ability to hear constitutional challenges in the immigration context, Gov. Br.

21-24, courts have decisively rejected that argument. See, e.g., Texas v. United States, 809 F.3d

134 at 155-64 (5th Cir. 2015) (“Congress has expressly limited or precluded judicial review of

many immigration decisions . . . but DAPA is not one of them.”), aff’d by an equally divided court

No. 15-674, 136 S. Ct. 2271 (2016); Batalla Vidal, 2017 WL 5201116, at *12-13. There is no

evidence—and the Government has not offered any—that Congress intended to abrogate review

of the constitutional claims through Section 1252(g). See INS v. St. Cyr., 533 U.S. 289, 300 n.12

(2001) (courts should “not lightly assume that Congress intended to infringe constitutionally

protected liberties or usurp power constitutionally forbidden it”), superseded by statute on other

grounds, 8 U.S.C. § 1252 (2005).

               2.      The APA Claims Are Justiciable

       With regard to the APA claims (Counts IV and V), courts have repeatedly rejected the

Government’s arguments. Under the APA, “[a] person suffering legal wrong because of agency

action, or adversely affected or aggrieved by agency action within the meaning of a relevant

statute, is entitled to judicial review thereof.” 5 U.S.C. § 702; see also id. § 701(a)(1). Courts

apply a strong presumption supporting judicial review of agency decisions. See Mach Mining,

L.L.C. v. E.E.O.C., 135 S. Ct. 1645, 1651 (2015); Bowen v. Mich. Acad. of Family Physicians, 476

U.S. 667, 670 (1986). This principle extends to the immigration context. See, e.g., McNary v.

Haitian Refugee Ctr., 498 U.S. 479, 483-84 (1991) (“[G]iven the absence of clear congressional

language mandating preclusion of federal jurisdiction . . . the District Court had jurisdiction to hear

respondents’ constitutional and statutory challenges to INS procedures.”).


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       Although Congress may overcome the presumption by committing agency action “to

agency discretion by law” or by enacting an express jurisdiction-stripping provision, neither of

those exceptions is applicable here. Quinteros-Mendoza v. Holder, 556 F.3d 159, 162 (4th Cir.

2009); 5 U.S.C. §§ 701(a)(1)-(2).

       a. The DACA rescission is not an action which was committed to agency discretion by law.

Batalla Vidal 2017 WL 5201116, at *9-12. Courts have interpreted the agency discretion

exception “extremely narrowly, applying it only ‘in those rare circumstances where the relevant

statute is drawn so that a court would have no meaningful standard against which to judge the

agency’s exercise of discretion.’” Quinteros-Mendoza, 556 F.3d at 162 (citing Lincoln v. Vigil,

508 U.S. 182, 191 (1993)). Here there is clear procedural and substantive law, as well as a

“meaningful standard,” against which to judge the agency’s decision to rescind DACA.

       For Plaintiffs’ APA claims, the relevant procedural law for this Court to apply comes from

the APA. This Court can and should evaluate whether the rescission of DACA complies with the

procedural requirements of the APA. See 5 U.S.C. §§ 553, 604. Regardless of whether the

substance of an agency action is reviewable, the agency’s process in making that decision must

still be reviewed for compliance with procedural requirements (e.g., for notice and comment and

reasoned explanation of departure from prior policy). As the Supreme Court explained in Lincoln

v. Vigil, whether the agency “was required to abide by the familiar notice and comment provisions

of the APA” is a question “quite apart from the matter of substantive reviewability.” 508 U.S. at

195-98; see also Am. Med. Ass’n v. Reno, 57 F.3d 1129, 1134 (D.C. Cir. 1995) (“under the APA

the ultimate availability of substantive judicial review is distinct from the question of whether the

basic rulemaking strictures of notice and comment and reasoned explanation apply.”) (emphasis

removed).




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       The Government’s position is also contradicted by the relevant substantive law that the

Government cited as the basis for the rescission. In claiming that the termination was grounded

on DACA’s alleged illegality, the Government cited judicially manageable standards by which a

court can evaluate Plaintiffs’ APA claims: Attorney General Sessions explicitly stated that his

recommendation to rescind DACA was mandated by his determination that the program was

unlawful. AR 251. As the Batalla Vidal court recently found, the Government “did not believe

that they were exercising discretion when rescinding the program” and thus “their reasons for

doing so are within the competence of this court to review.” Batalla Vidal, 2017 WL 5201116, at

*11. The inclusion of legal analysis (albeit limited) in the Administrative Record—reflected in

Defendants’ submission of the Office of Legal Counsel’s DAPA opinion and the court decisions

in Texas v. United States (AR 4-36, 42-228)—confirms that the decision to rescind DACA is

squarely within the competence of this Court to review. Reviewing an agency decision predicated

on a legal conclusion clearly is within the purview of this Court.

       In response, the Government makes three arguments, none of which is availing. First, the

Government avers that the Acting Secretary engaged in discretion in purportedly balancing “costs

and benefits” of maintaining or rescinding the programs. Gov. Br. 18. The Government cites

nothing in the Administrative Record analyzing such costs and benefits, and evidence of

“balancing” is entirely missing from the Administrative Record. See Albino v. United States, 78

F. Supp. 3d 148, 163 (D.D.C. 2015) (“[T]he Court’s review is limited to the administrative

record.”) In any event, any such analysis is predicated on assuming a “substantive legal”

conclusion about DACA, which makes the decision “reviewable.” Gov. Br. 18.

       Defendants fail in their effort to rely on I.C.C. v. Brotherhood Of Locomotive Engineers,

482 U.S. 270, 283 (1987) (“BLE”), which rejected the proposition that in “giv[ing] a reviewable




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reason for otherwise unreviewable action, the action becomes reviewable.” BLE does not, as

Defendants suggest, flip the burden on judicial review. Its reasoning applies only when a court is

already satisfied that one of the two narrow exceptions in 5 U.S.C. § 701(a) applies, and that the

challenged decision is unambiguously discretionary and unreviewable. See id. at 283. In deciding

in the first instance whether a matter is committed to agency discretion by law, or whether there is

instead relevant law to apply, BLE does not require this Court to disregard the agency’s asserted

basis for its decision.

        Second, the Government argues that the rescission of DACA is an unreviewable exercise

of enforcement discretion entrusted to DHS. Gov. Br. 15-21. The Government, however,

identifies no case holding that implementation of a broad agency enforcement policy is an exercise

of enforcement discretion immune from judicial review. On the contrary, courts have consistently

concluded such broad policies are reviewable. See, e.g., Int’l Refugee Assistance Project v. Trump,

No. 17-0361, 2017 WL 4674314, at *13 (D. Md. Oct. 17, 2017) (“IRAP”) (attached as Ex. 7)

(subjecting to judicial review Presidential Proclamation indefinitely barring entry of nationals from

six countries); Kenney v. Glickman, 96 F.3d 1118, 1123-24 (8th Cir. 1996) (agency’s adoption of

policy setting forth change in enforcement criteria was reviewable). Instead, Defendants rely

primarily on cases like Heckler v. Chaney, 470 U.S. 821 (1985), challenging decisions to take or

refrain from taking specific enforcement actions against particular individuals.3 As the Batalla

Vidal, Texas, and IRAP courts noted, those cases are inapposite for two reasons: first, they involve

highly individualized decisions, and second, many of them involve agency inaction, rather than




3
  Although Defendants cite Mada-Luna v. Fitzpatrick, that case undermines Defendants’ own
contention because although the court stated in dicta that the denial of the individual’s request was
not reviewable, the court considered the APA challenge to the deferred action operation
instructions on the merits. 813 F.2d 1006 (9th Cir. 1987).


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the affirmative decision to rescind a program. See Batalla Vidal, 2017 WL 5201116, at *11

(recognizing that rescinding DACA is an “affirmative decision to constrain DHS’s prosecutorial

discretion [which] cannot be analogized to an exercise of prosecutorial discretion”); Texas, 809

F.3d at 165-68 (“Congress did not intend to make immune from judicial review an agency action

that reclassifies millions of illegal aliens,” and that the Government failed to rebut “the strong

presumption of reviewability with clear and convincing evidence that, inter alia, it is making case-

by-case decisions here”); IRAP, 2017 WL 4674314, at *17 (finding jurisdiction to review claims

“asserting statutory and constitutional claims challenging a broader policy as opposed to individual

. . . determinations”).4

        Chaney, and cases following it, are based on the recognition that courts are not well placed

to second-guess an agency’s “balancing of . . . factors which are particularly within its expertise”

as to an individual enforcement matter. Chaney, 470 U.S. at 831. The DACA rescission is the

opposite of the decisions that Chaney found unreviewable.5 It is a broad policy that changes the

immigration status of approximately 800,000 individuals and prevents the Government from

engaging in the type of individualized exercise of prosecutorial discretion that might be

unreviewable under Chaney. The DACA Rescission Memo:

               requires Defendants to stop accepting DACA applications;

4
  Defendants’ reliance on Arpaio v. Obama for the proposition that a grant of deferred action is
“discretionary and reversible” is misplaced. 797 F.3d 11, 17 (D.C. Cir. 2015). In reviewing
DAPA, Texas v. United States recognized that “[r]evocability . . . is not the touchstone for whether
agency action is reviewable. Likewise, to be reviewable agency action, DAPA need not confer
public benefits—removing a categorical bar on receipt of those benefits and thereby making a class
of persons newly eligible for them ‘provides a focus for judicial review.’” 809 F.3d at 167 (quoting
Chaney, 470 U.S. at 832). Moreover, the court dismissed Sheriff Arpaio’s claims on standing
grounds since he possessed a “non-justiciable generalized grievance.” Arpaio, 797 F.3d at 18.
5
  Cf. e.g., Washington v. Trump, 847 F.3d 1151, 1162 (9th Cir. 2017) (“The present case, by
contrast, is not about the application of a . . . policy to the particular facts presented in an individual
visa application. Rather, the States are challenging the President’s promulgation of sweeping
immigration policy.”).


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              requires Defendants to only issue renewals for recipients whose DACA permits
               expire between September 5, 2017 and March 5, 2018, only if they apply for
               renewal by October 5, 2017;
              requires Defendants to reject renewals for recipients whose permits expire after
               March 5, 2018; and
              requires Defendants to reject new or pending applications for advance parole for
               DACA recipients.

AR 255. The DACA Rescission Memo removes discretion from the process. The Government

has instructed its agents to abandon the exercise of discretion and judgment in individual cases—

and mandated that there will be no further deferred action for this class of predominantly Latino

individuals. In imposing a blanket policy that conclusively alters the status of 800,000 young

people, the Government has not engaged in any “balancing” of individualized factors.6

       In addition, Chaney relied on the fact that plaintiffs in that case were attempting to obtain

judicial review of an agency decision not to act, which the Supreme Court carefully distinguished

from when an agency does act. 470 U.S. at 832 (“when an agency refuses to act it generally does

not exercise its coercive power over an individual’s liberty or property rights . . . when an agency

does act to enforce, that action itself provides a focus for judicial review”) (emphasis in original).

The court in Robbins v. Reagan, which concerned an APA challenge of a government decision to

rescind its commitment to renovate a homeless shelter, emphasized the importance of this

distinction:

               Decisions not to take enforcement action generally do not involve
               exercise of coercive power over individual’s liberty or property
               rights, and thus do not infringe upon areas that courts are called upon

6
  Sierra Club v. Larson, cited by Defendants, clarifies that “the relevant question here is whether
the [statute] provides standards for ascertaining when the [agency] should recommend formal
enforcement proceedings be commenced or when the secretary is required to make a determination
of compliance or non-compliance or to initiate an enforcement action. As to these points, the
statute is silent. Therefore, there is no law to apply and appellant has failed to overcome the
presumption of unreviewability.” 882 F.2d 128, 132 (4th Cir. 1989). Conversely, DACA is a
broad policy, not an enforcement action, and the APA properly provides numerous standards
against which to assess the policy.


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               to protect. By contrast, rescissions of commitments, whether or not
               they technically implicate liberty and property interests as defined
               under the fifth and fourteenth amendments, exert much more direct
               influence on the individuals or entities to whom the repudiated
               commitments were made.

780 F.2d 37, 47 (D.C. Cir. 1985) (citations omitted). As the court in Robbins concluded,

“[r]escissions of prior obligations clearly fall into the ‘focused action’ category,” giving courts a

“specific affirmative action to be reviewed.” Id. Here, Plaintiffs seek judicial review of an

affirmative agency action rescinding protected interests that have been granted to Dreamers,

providing a clear focus for judicial review.7

       Third, the Government asserts that its arguments about enforcement discretion must be

read with “particular force” in the immigration context. Gov. Br. 16-17. This is wrong. The

Supreme Court has noted that the “strong presumption in favor of judicial review of administration

action” applies even in immigration cases. St. Cyr, 533 U.S. at 298 (holding that AEDPA and the

IIRIRA did not deprive court of jurisdiction to review an alien’s habeas petition); McNary, 498

U.S. at 483-84 (finding jurisdiction to hear constitutional and statutory challenges to INS

procedures); Zadvydas v. Davis, 533 U.S. 678, 696 (2011) (rejecting the government’s invocation

of a “foreign policy” rationale to preclude judicial review of a detained noncitizen’s removal

proceeding).

       In response, the Government cites Reno v. American-Arab Anti-Discrimination Committee,

525 U.S. 471(1999) (“AADC”) to argue that review is inappropriate because it could “delay” the

removal of aliens from the United States. Gov. Br. 19. The court in AADC based its decision on



7
  Defendants’ reliance on Perales v. Casillas is unavailing because it relies on plaintiffs seeking
status that they do not already have. 903 F.2d 1043 (5th Cir. 1990) (finding decision of whether
to affirmatively grant voluntary departure and work authorization was committed to agency
discretion by law). This does not, however, cover the present situation where Defendants seek to
remove rights and interests that it has already granted.


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8 U.S.C. § 1252(g), which precludes individuals in removal proceedings from seeking judicial

review unless there is evidence of “outrageous . . . discrimination.” AADC, 525 U.S. at 491.

Review of a policy determination to eliminate discretion in awarding deferred action for an entire

class of predominantly Latino immigrants will not delay or otherwise have any effect on individual

removal proceedings. This litigation is proceeding prior to the March 5, 2018 DACA expiration,

and Plaintiffs are not challenging any active individual removal proceedings.

       b. Congress has not enacted any statute that strips jurisdiction from this Court. To the

extent the Government argues that 8 U.S.C. § 1252(g) precludes review, Gov. Br. 21-24, that (i)

has been rejected by the Courts, and (ii) is demonstrably incorrect. See, e.g., Batalla Vidal., 2017

WL 5201116, at *12-13.

       This case raises none of the concerns Section 1252(g) is intended to address: Plaintiffs are

challenging the class-wide, policy decision to terminate DACA. Plaintiffs are not attempting to

obstruct or collaterally attack any ongoing removal proceedings.          The plain text of Section

1252(g) limits judicial review of actions “by or on behalf of any alien arising from” certain

deportation proceedings in three specifically enumerated circumstances: cases “arising from the

decision or action by the Attorney General to commence proceedings, adjudicate cases, or execute

removal orders against any alien under this chapter.” 8 U.S.C. § 1252(g) (emphasis added).8 The

Supreme Court has explained that § 1252(g) is not “a sort of ‘zipper’ clause that says ‘no judicial




8
  In contrast to this case, the cases cited by the Government at pages 22-23 of its brief both involve
challenges by individual aliens to removal proceedings in which the petitioner sought deferred
action as a means to prevent their removal. See Vasquez v. Aviles, 639 F. App’x 898, 901 (3d Cir.
2016) (collateral attack on government’s failure to grant deferred action by individual contesting
removal proceedings); Botezatu v. INS, 195 F.3d 311, 311-12, 314 (7th Cir. 1999) (challenge to
government’s decision not to grant deferred action after a removal order was already issued).


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review in deportation cases unless this section provides judicial review.’” AADC, 525 U.S. at 482.

As Justice Scalia stated in his majority opinion:

               [Section 1252(g)] applies only to three discrete actions that the
               Attorney General may take[]. . . . There are of course many other
               decisions that may be part of the deportation process – such as the
               decision to open an investigation, to surveil the suspected violator,
               to reschedule the deportation hearing, to include various provisions
               in the final order that is the product of the adjudication, and to refuse
               reconsideration of that order. It is implausible that the mention of
               three discrete events along the road to deportation was a shorthand
               way of referring to all claims arising from deportation proceedings.

Id. In light of this, it is not surprising that Defendants’ argument has repeatedly been rejected by

other courts considering large-scale grants of deferred action status. For example, the Fifth Circuit

held that Section 1252(g) did not preclude judicial review of DAPA, noting that such an expansive

reading of Section 1252(g) would render numerous other jurisdiction-stripping provisions of the

INA “superfluous.” See Texas, 809 F.3d at 756-63.9 Similarly, the Eastern District of New York

ruled that § 1252(g) did not preclude the court from considering Defendants’ termination of the

DACA program because the rescission of DACA was not “[a] decision or action . . . to commence

proceedings, adjudicate cases, or execute removal orders against any alien.” See Batalla Vidal,

2017 WL 520116, at *12 (quoting 8 U.S.C. § 1252(g)). As the Eastern District held, the decision

to rescind DACA does not fall within the specifically delineated scope of § 1252(g). 10

       B.      Plaintiffs Have Standing




9
  There are a number of other specific jurisdiction stripping provisions in the INA. See, e.g., 8
U.S.C. § 1182(a)(9)(B)(v) (barring review of waiver of reentry restrictions); Id. § 1226a(b)(1)
(limiting judicial review of detention of terrorist aliens); Id. § 1229c(e) (barring judicial review of
regulations limiting eligibility for voluntary departure).
10
   Even if § 1252(g) precluded the Individual Plaintiffs’ claims – which it does not – the
Organizational Plaintiffs could still bring the claims because §1252(g) applies only to suits “by or
on behalf of any alien.” 8 U.S.C. § 1252(g) (emphasis added). The Organizational Plaintiffs are
clearly not aliens and are pursuing these claims in their own right. See infra Section I.B.2.


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       The Court must consider standing with respect to each separate claim asserted in the

Complaint, not with regard to each plaintiff. Bostic, 760 F.3d at 371. “[T]he presence of one party

with standing is sufficient to satisfy Article III’s case or controversy requirement.” Forum for

Acad. & Inst. Rights, Inc., 547 U.S. at 53 n.2 (no further inquiry necessary where one plaintiff had

standing to pursue all claims); Bostic, 760 F.3d at 370-71.

               1.      The Individual Plaintiffs Indisputably Have Standing

       The Government has not contested that the Individual Plaintiffs have standing with respect

to each claim. Gov. Br. 25-29. On this basis alone, the Court should deny the Government’s

standing challenges.

       In any event, the Individual Plaintiffs easily meet the standard to establish standing. The

Government acknowledges the Individual Plaintiffs include current and former DACA recipients.

Compl. ¶¶ 38-55; Gov. Br. 2. Their claims arise out of the Government’s decision to rescind the

DACA Program (Counts I, III, IV, V & VII) and the revocation of the prohibition on sharing

DACA applicant information with enforcement authorities (Counts II, III, IV, V & VI). The

Individual Plaintiffs have suffered injury-in-fact because, among other reasons:

              “If the DACA program ends, the [Individual Plaintiffs] almost certainly will lose
               their work authorization, the availability of which turns on their status as recipients
               of deferred action.” Batalla Vidal, 2017 WL 5201116, at *15. “Loss of the[] ability
               to work in the United States is clearly an ‘injury in fact.’” Id.; see also McNary,
               498 U.S. at 491 (“the impact of a denial on the opportunity to obtain gainful
               employment is plainly sufficient to mandate constitutionally fair procedures in the
               application process”).

              The Rescission Memorandum impaired the ability of the Individual Plaintiffs’ to
               travel abroad by terminating the advance parole option for DACA recipients.
               Compl. ¶ 18. Loss of the freedom to travel is an injury in fact. Kent v. Dulles, 357
               U.S. 116, 125-26 (1958) (right to travel is a liberty that cannot be taken without due
               process of law).

              The loss of their deferred action status would make the Individual Plaintiffs subject
               to removal from the country and their risk of deportation is significantly heightened



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                  by the rescission of the information nondisclosure policy. Batalla Vidal, 2017 WL
                  5201116, at *16.

                 The Rescission Memorandum will soon deprive the Individual Plaintiffs of vital
                  benefits such as driver’s licenses, bank accounts, financial aid, home ownership,
                  and disability and health benefits. Compl. ¶¶ 101-03, 105-06.

Defendants do not contest these injuries, all of which are directly traceable to the Defendants’

decision to rescind DACA and revoke the information sharing prohibition. Compl. ¶¶ 97-128.

The entry of an order declaring these actions to be illegal or enjoining them would restore the

status quo. Id.

                  2.     The Organizational Plaintiffs Have Standing

       The Organizational Plaintiffs have standing both directly and in a representational capacity.

With regard to the claims brought on their own behalf, an organization has standing to bring a

claim where a defendant’s actions have “perceptibly impaired” an organizational plaintiff’s ability

to carry out its established mission by creating a “drain on the organization’s resources.” Havens

Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982); see also Equal Rights Ctr. v. Equity

Residential, 798 F. Supp. 2d 707, 725 (D. Md. 2011) (expenditure and diversion of resources to

investigate agency’s action sufficient to show standing).           The Complaint alleges how

Organizational Plaintiffs have been directly injured by the DACA rescission. Compl. ¶¶ 29-37.

For example, Plaintiffs allege that CASA had to “suspend[] the majority of [its] work to assist

DACA renewal applicants” and “reprioritized [its] work to engage with the community and

educate them about the rescission of DACA.” Compl. ¶ 29. The Complaint further alleges that

the DACA rescission has “impaired CASA’s mission, as DACA members and their families who

live in our communities face an uncertain future that may include loss of employment and potential




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permanent separation from their families.” Compl. ¶ 29. In opposition to the Motion, Plaintiffs

are submitting declarations11 that establish:

                      The Organizational Plaintiffs are devoted to improving the lives of
                       individuals in immigrant communities and have had to devote significant
                       resources in response to the rescission of DACA, to the detriment of their
                       other programs. (CASA Decl. ¶ ¶ 4-5, 8-12 ; OneAmerica Decl. ¶¶ 2-6,
                       15, 16, 18; Junta Decl. ¶ ¶ 2-5, 9, 13.)

                      The Organizational Plaintiffs have provided services to assist individuals
                       relating to their DACA status, which services are ongoing following the
                       Rescission, and these services have been overwhelmed since the rescission
                       of DACA. (CASA Decl. ¶ ¶ 8-12; OneAmerica Decl. ¶ 15; Junta Decl. ¶ ¶
                       9-14.)

                      The Organizational Plaintiffs lack the capacity to respond to this need and
                       also maintain their other programs. (CASA Decl. ¶ ¶ 8-12; OneAmerica
                       Decl. ¶¶ 15-16; Junta Decl. ¶ ¶ 9-14, 16-18.) For example, CASA was
                       forced to suspend most of its programming (CASA Decl. ¶ ¶ 8-12);
                       OneAmerica had to stay its environmental justice advocacy programming
                       (OneAmerica Decl. ¶ 16); and Junta was forced to abandon its legal
                       permanent resident campaign (Junta Decl. ¶ 9).

In sum, the Organizational Plaintiffs’ programming has been “perceptibly impaired,” indeed much

of their vital programming has been halted altogether. Thus, the Organizational Plaintiffs have

sufficiently alleged injury to their own activities to allow them to pursue declaratory and injunctive

relief under the Havens line of cases.

       In response, the Government ignores this factual proffer and argues the Organizational

Plaintiffs suffer nothing other than “generalized grievances” which should be “rejected out of

hand.” Gov. Br. 25-27. This contention both ignores Plaintiffs’ allegations and factual proffer and

misstates the law. See, e.g., IRAP, 2017 WL 4674314, at *13 (standing where defendants’ actions




11
   On a motion to dismiss for lack of standing, the court “may consider evidence outside the
pleadings without converting the proceeding to one for summary judgment.” White Tail Park,
Inc., 413 F.3d at 459 (relying on affidavits to find organization had standing).



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“imped[ed organizational plaintiffs’] efforts to accomplish their missions by disrupting their ability

to raise money, train staff, and convene programs”).12

       The Government also contends that one of the Organizational Plaintiffs (CASA) cannot

establish injury because they purportedly have no “ongoing injury,” Gov. Br. 27, but this

misconstrues the evidence of ongoing injury to the Organizations. The Government’s argument

ignores that the rescission of the DACA program will be implemented between the present and

March 5, 2020 (when deferred action will end for the last recipient), and that all DACA recipients,

as they face the loss of their right to work and risk of deportation will need to assess whether they

have other bases to remain in the United States and will need to be counseled on difficult questions,

including whether to keep their family together. (CASA Decl. ¶ ¶ 13-17; OneAmerica Decl. ¶¶

10-12, 15; Junta Decl. ¶ ¶ 7-10). CASA and the other Organizational Plaintiffs have and will

continue to need to dedicate tremendous resources to this effort. Moreover, the Government’s

contention ignores that several of the Organizational Plaintiffs employ DACA recipients in critical

roles and their missions will be impacted by their inability to legally employ these valued

employees once their DACA expires, and to have to expend resources to recruit, hire, and train

replacements. See Compl. ¶ 53; CASA Decl. ¶ 15; OneAmerica Decl. ¶ 17; Junta Decl. ¶ 16.

       In addition to the claims they bring on their own behalf, several of the Organizational

Plaintiffs bring claims on behalf of their members, who include DACA recipients. To invoke

associational standing on behalf of its members, an organization must establish that (1) “its




12
   Defendants cases are inapposite. Md. Highways Contractors Ass’n, Inc. v. Maryland, 933 F.2d
1246, 1250 (4th Cir. 1991) (dismissed for mootness; in dicta, association offered no evidence of
injury); Nat’l Taxpayers Union, Inc. v. United States., 68 F.3d 1428, 1433-34 (D.C. Cir. 1995) (no
injury because mere “frustrated” objectives and speculation as to potential impact on fundraising);
Am. Legal Found. v. FCC., 808 F.2d 84, 92 (D.C. Cir. 1987) (no injury where nonprofit had an
“‘institutional interest’ in ‘seeing to it that [an agency’s] policies are enforced’”).


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members would otherwise have standing to sue in their own right;” (2) “the interest [the

organization] seeks to protect are germane to [its] purpose;” and (3) “neither the claim asserted

nor the relief requested requires the participation of individual members in the lawsuit.” Hunt v.

Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Defendants do not contest that the

Organizational Plaintiffs meet the second and third prongs. Gov. Br. 28-2913

       Rather, the Government contends that the Organizational Plaintiffs lack associational

standing because they fail to identify “a specific member with standing for each claim it asserts.”

Gov. Br. 28. This is a makeweight argument and demonstrably incorrect. The Complaint

identifies Jose Aguilar, who is a CASA member and who risks losing his DACA status and work

authorization when it expires in March 2019. Compl. ¶ 53. Furthermore, many of the Individual

Plaintiffs are CASA members. CASA Decl. ¶ ¶ 13-17. And the record references specific

members of CASA, OneAmerica, and Junta who have standing to challenge the DACA rescission

and the revocation of the information-sharing prohibition in their own right. CASA Decl. ¶ ¶ 13-

17; OneAmerica Decl. ¶¶ 11-12; Junta Decl. ¶¶ 7-8.)14 Moreover, the Organizational Plaintiffs

allege that they assisted on tens of thousands of DACA initial and renewal applications (Compl.

¶¶ 29, 30, 31, 35, 36, 37), engage in community education relating to DACA (Compl. ¶¶ 29, 32,

36), and advocate for a legislative solution for Dreamers (Compl. ¶¶ 33, 34, 37). There can be no



13
    Nor could they. The Organizational Plaintiffs are all dedicated to the advancement of
immigrants’ rights and the empowerment of immigrant communities (see Compl. ¶¶ 29-37),
making the rescission of DACA clearly germane to their purpose. And there is no reason the
Organizational Plaintiffs, as representatives for their members and constituents, cannot effectively
prosecute the statutory, constitutional, or common law claims that seek to vacate the unlawful
Rescission Memorandum and related agency actions, and enjoin the Defendants from violating the
law or disclosing DACA-applicants’ personal information to immigration enforcement officials.
See IRAP, 2017 WL 4674314, at *14 (recognizing that statutory and constitutional challenges to a
law could be effectively litigated by representative organizations).
14
   See IRAP, 2017 WL 4674314, at *14 (finding declarations describing an individual and another
providing only a first name to be sufficient).


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serious doubt that the Organizational Plaintiffs have members, on whose behalf they provide these

services and advocacy efforts, who have been injured by Defendants’ actions.                    Thus, the

Organizational Plaintiffs also have representational standing to pursue these claims.

        The Organizations also have standing to bring an action under the APA. The APA confers

a cause of action on persons “adversely affected or aggrieved by agency action.” 5 U.S.C. § 702;

see also Abourezk v. Reagan, 785 F.2d 1043, 1050 (D.C. Cir. 1986); IRAP, 2017 WL 4674314, at

*17. A plaintiff is “aggrieved by agency action” where the interest at issue “arguably” falls

“within the zone of interests” sought to be protected. Abourezk, 785 F.2d at 1050 (emphasis

added). “[I]n the APA context,” the zone of interests test required to bring a claim is “not

especially demanding.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S.Ct. 1377,

1389 (2014).15 Under this “lenient approach,” “the benefit of any doubt goes to the plaintiff,” and

suit is “‘foreclose[d] . . . only when a plaintiff’s interests are so marginally related to or inconsistent

with the purposes implicit in the statute that it cannot reasonably be assumed that’ Congress

authorized that plaintiff to sue.” Id.

        In contending that the Organizational Plaintiffs “lack a cause of action under the APA,”

Gov. Br. 29, the Government again mischaracterizes the Organizational Plaintiffs’ claims. The

Organizational Plaintiffs are all dedicated to immigrants and immigrant communities. Compl.

¶¶ 29-37. As discussed supra, the Organizations collectively assisted with tens of thousands of

DACA initial and renewal applications, employ DACA recipients, advocate on behalf of

Dreamers, provide community outreach, education, and support services to undocumented



15
   Clarke v. Secs. Indus. Ass’n, 479 U.S. 388 (1987) is not in conflict. It recites the same lenient
test as Lexmark, id. at 400, and held that a trade association representing securities brokers, dealers,
and underwriters was within the zone of interest to challenge a decision of the Comptroller of the
Currency to grant national banks permission to open competing discount securities brokerage
offices. Id. at 403.


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childhood immigrants, and provide ongoing support and counseling to DACA recipients who face

injury because of the rescission. The Organizations have alleged and described the drain on

resources caused by the rescission of DACA, as well as the impact the rescission has and will have

on their employees, volunteers, members, and programming. CASA alone “counts 2,300 DACA

beneficiaries as members.” Compl. ¶ 29; CASA Decl. ¶ 12. These interests of these organizations

plainly fall within those directly protected by the INA—far exceeding the standard that they

“arguably” fall within the INA’s zone of interests–allowing them a cause of action under the APA.

Under similar circumstances, courts have not hesitated to find that organizational plaintiffs are

within the zone of interests protected by the INA and have a cause of action under the APA. See,

e.g., Abourezk, 785 F.2d at 1050 (finding standing for an organization that invites foreign nationals

to speak at rallies); IRAP, 2017 WL 4674314, at *13 (finding standing for organizations that

employ or collaborate with foreign nationals affected by President Trump’s travel ban).16


II.    THERE IS NO BASIS TO DISMISS THE COMPLAINT UNDER RULE 12(b)(6)

       A.      The Complaint Alleges Multiple Violations of the Administrative Procedures
               Act

               1.      Plaintiffs Have Stated a Claim Under the APA

       “The APA provides that a reviewing court is bound to ‘hold unlawful and set aside agency

action’ for certain specified reasons, including whenever the challenged action is ‘arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law.’” Friends of Back


16
  Defendants’ reliance on Fed’n of Am. Immig. Reform, Inc. v. Reno, 93 F.3d 897, 901 (D.C. Cir.
1996), (“F.A.I.R.”) is misplaced. F.A.I.R. held that claims asserted by an anti-immigration reform
group were not within the zone of interests of the INA because the purported harms—generic,
negative effects on employment opportunities, and public services and facilities, on existing
members of communities where immigrants may settle—are mere “incidental effects” of the
challenged immigration policy. By contrast, the Organizational Plaintiffs seek redress for specific
harms to the people directly affected by the agency’s behavior, the DACA candidates and
recipients.


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Bay v. U.S. Army Corps of Eng’rs, 681 F.3d 581, 586-87 (4th Cir. 2012), (quoting 5 U.S.C. §

706(2)(A)). Count IV of the Complaint alleges that Defendants violated the APA because their

rescission of DACA and revocation of the prohibition on sharing DACA applicants’ personal

information with enforcement authorities are arbitrary and capricious, contrary to prior

determinations of DHS, and unsupported by a reasoned analysis. In support of this claim, the

Complaint contains detailed factual allegations concerning the establishment of DACA and the

Government’s commitment not to share applicant information with enforcement authorities.

Compl. ¶¶ 4-6, 9-16, 67-70, 79-91. The Complaint also states detailed facts regarding the

Government’s efforts to induce Plaintiffs and other Dreamers to rely on these commitments,

Compl. ¶¶ 9-17, 71-91, and the irregularities in the revocation of these programs and related

commitments. Compl. ¶¶ 18, 21-25, 92-128, 162-166. For a host of reasons, Count IV pleads a

violation of the APA.

       a. The rescission of DACA is not supported by the Administrative Record. As an initial

matter, the Administrative Record (ECF No.26)—which consists of fourteen documents

comprising a total of 256 pages, all of which are publicly available, and 192 of which relate to a

wholly separate immigration policy17—is woefully incomplete.

       It bears emphasis that two other courts considering the Government’s decision to rescind

DACA have concluded that this Administrative Record is incomplete. As the Ninth Circuit

recently found, “[t]he notion that the head of a United States agency would decide to terminate a

program giving legal protection to roughly 800,000 people based on 256 pages of publicly




17
   Those 192 pages are the Supreme Court, Fifth Circuit, and district court opinions in a suit
challenging a distinct deferred action policy, Deferred Action for Parents of Americans and Lawful
Permanent Residents, or DAPA. United States v. Texas, 136 S. Ct. 2271 (2016); Texas v. United
States, 809 F.3d 134 (5th Cir. 2015); Texas v. United States, 86 F. Supp. 3d 591 (S.D. Tex. 2015).


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available documents is not credible.” In re United States, No. 17-72917, 2017 WL 5505730, at *2

(9th Cir. Nov. 16, 2017) (citations omitted) (denying mandamus). Similarly, the Eastern District

of New York held that “plaintiffs . . . have adequately established that the administrative record

produced to date is manifestly incomplete.” Batalla Vidal v. Duke, No. 1:16-cv-04756-NGG-JO,

Mem. & Order at 3, Dkt. No. 89 (E.D.N.Y. Oct. 19, 2017) (Ex. 8).

       The insufficiency of the Administrative Record is clear from the face of the Government’s

certification, which states the submitted documents are “a complete copy of the non-privileged

documents that were actually considered by Elaine C. Duke . . . in connection with her September

5, 2017 decision to rescind” DACA. That “complete” set of documents is far from the complete

record in this case: “[A] complete administrative record should include all materials that ‘might

have influenced the agency’s decision,’ and not merely those on which the agency relied in its

final decision.” Outdoor Amusement Bus. Ass’n v. Dep’t of Homeland Sec., No. 16-1015, 2017

WL 3189446, at *13 (D. Md. July 27, 2017) (citation and quotation omitted). The Administrative

Record must include “all documents and materials directly or indirectly considered by the agency.

. . . The agency may not . . . skew the ‘record’ for review in its favor by excluding from that

‘record’ information in its own files which has great pertinence to the proceeding in question” nor

may an agency “exclude . . . unfavorable information . . . on the ground that it did not ‘rely’ on

that information in its final decision.” Id. at *8 (collecting cases).18 The Record is woefully



18
   For this very reason, guidance promulgated by the Department of Justice requires that agencies
compiling an administrative record must “include all documents and materials prepared, reviewed,
or received by agency personnel and used by or available to the decision-maker, even though the
final decision-maker did not actually review or know about the documents or materials” and should
include “communications to the agency received from other agencies…[and] documents and
materials that support or oppose the challenged agency decision.” U.S. DEP’T OF JUST., ENV’T AND
NAT. RES. DIV., GUIDANCE TO FEDERAL AGENCIES ON COMPILING THE ADMINISTRATIVE RECORD
3-4 (Jan. 1999).



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inadequate. 19 See generally Rule 56(d) Decl. ¶ 9(a)&(b). For this reason alone, the Motion must

be denied. See, e.g., Greene v. Carson, 256 F. Supp. 2d 411, 431-32 (S.D.N.Y. 2017) (where

administrative record is patently deficient, the government’s Rule 12 and 56 motions must be

denied).

          In any event, the proffered explanation is implausible and not supported by the Record

submitted. Under the APA, an action is arbitrary and capricious if the agency “offered an



19
     By way of example only, the Record contains no documents:
       from Acting Secretary Duke’s subordinates, despite sworn deposition testimony that at
         least fifteen DHS employees were involved in the decision to terminate DACA, and that
         Acting Secretary Duke based her decision in part on the work and recommendation of those
         employees. Hamilton Dep. at 95; see In re United States, 2017 WL 5505730, at *3 (“it
         strains credulity to suggest that the Acting Secretary decided to terminate DACA without
         consulting one advisor or subordinate within DHS”) (internal quotation omitted); Otsuka
         Pharm. Co. v. Burwell, No. 15-852, 2015 WL 1579127, at *2 (D. Md. Apr. 8, 2015) (“[i]f
         the agency decision maker based his decision on the work and recommendations of
         subordinates, those materials should be included as well”) (citing Amfac Resorts, LLC v.
         U.S. Dep’t of Interior, 143 F. Supp. 2d 7, 12 (D.D.C. 2001) (collecting cases));
       from the Department of Justice or the White House other than a one-page letter from
         Attorney General Sessions and a 2014 Office of Legal Counsel opinion concluding that
         DACA was legal. The idea that no additional records exist defies credulity, given: (1)
         sworn deposition testimony that the White House Chief of Staff, two Deputy Chiefs of
         Staff, four Presidential advisors, the Attorney General, and three other DOJ representatives
         participated in the decision to terminate DACA (Hamilton Dep. at 103); (2) representations
         by the Government at a hearing that “the Attorney General and DHS both decided that this
         was an unlawful program” and “the Attorney General and DHS decided that . . . they’re
         going to wind down this program,” Sept. 14, 2017 Tr. Battalla Vidal, 16-cv-4756 at 13, 26
         (Ex. 9); (3) a press release from the President taking credit for the decision (Ex. 10)    ;
         and (4) a press conference at which the Attorney General claimed that DACA led to an
         increase in unaccompanied minors entering the United States and resulted in American
         citizens losing job opportunities, and that termination of the program would “strengthen[]
         the constitutional order and the rule of law in America” (Ex. 11); or
       explaining why Defendants are allowing a program it claims it is unconstitutional to remain
         in effect until March 2020, nor why DHS will continue to adjudicate applications filed by
         October 5, 2017. Nor does it explain why President Trump tweeted, the same day Acting
         Secretary Duke issued the Rescission Policy, that if Congress could not “legalize DACA”
         within six months, he would “revisit this issue!” (Ex. 12) suggesting that the President
         believes the Executive Branch does have authority to continue the program.




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explanation for its decision that runs counter to the evidence before the agency” or the decision “is

so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 43 (1983). “[A]n agency

changing its course must supply a reasoned analysis indicating that prior policies and standards

are being deliberately changed, not casually ignored, and if an agency glosses over or swerves

from prior precedents without discussion it may cross the line from the tolerably terse to the

intolerably mute.” Greater Bos. Television Corp. v. FCC, 444 F.2d 841, 852 (D.C. Cir. 1970).

       The Government purportedly based the rescission of DACA on “the imminent risk of a

nationwide injunction.” Gov. Br. 31. Among other things, this explanation ignores that the

Government previously averred—both internally and before other courts—that DACA was a

lawful exercise of the Executive Branch’s immigration enforcement authority. Specifically, in

2014, the Department of Justice Office of Legal Counsel concluded that DACA was a lawful

exercise of the Executive Branch’s “discretion to enforce the immigration laws.” AR000004-36.

More recently, the Government represented that programs such as DACA are “lawful exercise[s]”

of the Executive Branch’s “broad statutory authority” to administer and enforce the INA.20 And

the current Administration determined in February and June that DACA should be maintained.

Decl. Exs. 3 & 4. Reasoned agency decision-making “ordinarily demand[s] that [the agency]

display awareness that it is changing position” and “show that there are good reasons for the new

policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). As the Ninth Circuit

found, “[t]he materials considered by Secretary Kelly in the course of deciding against ending

DACA in February 2017 did not cease to be ‘before the agency’ for purposes of the administrative




20
 Brief for Petitioners at 42, United States v. Texas, 136 S. Ct. 2271 (2016) (No. 15-674), 2016
WL 836758 at *42.


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record during that seven-month evolution in policy.” In re United States, 2017 WL 5505730, at

*4 (quoting Thompson v. Dep’t of Labor, 885 F.2d 551, 556-56 (9th Cir. 1989)). Nonetheless,

Defendants have not provided any explanation, let alone a reasoned analysis, for this change in

position.

       There was nothing imminent about risk to DACA: No litigation ever sought to enjoin

DACA, no litigant has successfully challenged DACA, no litigant has filed a brief demonstrating

imminent harm from DACA, and no Court ever enjoined DACA. The Fifth Circuit’s ruling in

Texas, upon which Defendants almost exclusively rely for this assertion of “imminent risk,”

involved no such challenge. Contrary to Defendants’ erroneous suggestion that the Fifth Circuit

found DACA “invalid[] . . . as it was actually implemented in practice,” Gov. Br. 36, the Fifth

Circuit never ruled on the validity of DACA—nor has any other court. Rather the Fifth Circuit

decision in the Texas litigation concerned the “Deferred Action for Parents of Americans,” or

“DAPA,” an entirely different immigration program.

       Indeed the Administrative Record confirms “the original DACA policy was not challenged

in the [Texas] lawsuit.” AR00000253. Additionally, as Defendants concede, DAPA “was

enjoined before its implementation,” Gov. Br. 35 (emphasis added), meaning the equities at issue

in challenging DAPA are very different than those presented for DACA. DACA has been in place

for five years and has extended protected interests to more than 800,000 individuals; DAPA was

never implemented and protected no one. In light of these critical factual differences (discussed

nowhere in the Administrative Record or the Government’s brief), it is entirely speculative for the

Government to conclude that the Court would enjoin DACA.21




21
  Press Release, Dep’t of Homeland Security, Statement from Acting Secretary Duke on the
Rescission of DACA (Sept. 5, 2017), https://go.usa.gov/xncuM.


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       By hailing the Fifth Circuit’s DAPA decision, the Government is hoisted by its own petard.

The Fifth Circuit explicitly concluded that DAPA was both justiciable and a substantive rule that

should have gone through notice-and-comment. Texas, 809 F.3d at 146-48. It is implausible that

the Government grounded its decision to rescind DACA on the alleged “litigation risk” created by

the Fifth Circuit opinion if, as the Government now claims, its justiciability and notice-and-

comment holdings were wrong.

       The Government also avers (even more speculatively) that rescission of DACA would be

more “orderly,” and “less disruptive,” or result in less “litigation risk” than defending another suit

seeking an injunction. Gov. Br. 2, 10, 20, 30, 33. These assumptions are belied by the confusion,

fear and disruption experienced by the more than 800,000 DACA recipients and their families as

a result of Defendants’ actions; indeed, the “orderly” termination of DACA—which involved

renewal and application deadlines with no rationale—were so poorly executed that USCIS was

forced to revise its procedures for the acceptance of renewal applications between the filing of the

Complaint and the deadline for this response brief.22 The presumed reduced “litigation risk” is

belied by the ten lawsuits filed across the country by individuals, states, universities, cities,

counties, civil rights groups, non-profit organizations, major corporations, and others. “[A]t, most,

the Department deliberately traded one lawsuit for another.” Organized Vill. Of Kake v. U.S. Dep’t

of Agric., 795 F.3d 956, 970 (9th Cir. 2015) (agency’s desire to avoid litigation did not satisfy its

obligation to provide a reasoned explanation for its change in policy); Sierra Club v. Jackson, 833

F. Supp. 2d 11, 34 (D.D.C. 2012) (rejecting the “litigation risk” explanation for an action and

finding action to be arbitrary and capricious).




22
  USCIS, USCIS GUIDANCE ON DACA RENEWAL REQUESTS AFFECTED BY MAIL SERVICE ISSUES
(last updated Nov. 17, 2017), ( Ex. 13).


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        In short, the Government’s reasons for rescinding DACA are fundamentally permeated by

speculation, unsupported by facts and undocumented in the Administrative Record. The APA, at

a minimum, establishes that speculation cannot substitute for reasoned decision-making, nor can

it justify jettisoning a policy on which over 800,000 people have relied. After all, “an agency

changing its course must provide a reasoned analysis.” State Farm, 463 U.S. at 57.

        b. In altering DHS’s information-sharing prohibition, the Government “entirely failed to

consider an important aspect of the problem” and therefore failed to support the revocation with

a “reasoned analysis.” State Farm, 463 U.S. at 43. Nor does the Government attempt to provide

such an explanation now. The only response is to deny that there has been a “substantive change

in DHS’s information-sharing policy.” Gov. Br. 38. That response strains credulity, and is “so

implausible that it could not be ascribed to a difference in view or the product of agency expertise.”

State Farm, 463 U.S. at 43 (citation omitted).

        In promoting the DACA program, the Government invited hundreds of thousands of highly

vulnerable young people to offer their personal information, information that, if provided to

immigration enforcement officials, could have severe consequences. The Government assured

Plaintiffs and others like them that, in providing such personal information as part of their DACA

applications, they had nothing to fear as long as they were honest in their applications, did not

engage in subsequent criminal activity, and were not otherwise subject to deportation based on a

previously obtained record. Specifically, the DACA application instructions stated unequivocally

that:

        Information provided in this request is protected from disclosure to ICE and
        U.S. Customs and Border Protection (CBP) for the purpose of immigration
        enforcement proceedings unless the requestor meets the criteria for the issuance
        of a Notice To Appear or a referral to ICE under the criteria set forth in USCIS’
        Notice to Appear guidance (www.uscis.gov/NTA). The information may be shared
        with national security and law enforcement agencies, including ICE and CBP, for



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       purposes other than removal, including for assistance in the consideration of
       deferred action for childhood arrivals request itself, to identify or prevent fraudulent
       claims, for national security purposes, or for the investigation or prosecution of a
       criminal offense. The above information sharing clause covers family members
       and guardians, in addition to the requestor.23

DHS made the same assurances in its Frequently Asked Questions regarding DACA:

       Information provided in [an application for DACA] is protected from disclosure to
       ICE and CBP for the purpose of immigration enforcement proceedings unless the
       requestor meets the criteria for the issuance of a Notice To Appear or a referral to
       ICE under the criteria set forth in USCIS’ Notice to Appear guidance
       (www.uscis.gov/NTA). Individuals whose cases are deferred pursuant to
       DACA will not be referred to ICE.24

In the DHS notice of approval granting deferred action under DACA, the same message was

conveyed: the only grounds cited for violating the information sharing prohibition are “fraud or

misrepresentation” and “[s]ubsequent criminal activity.”25

       Not only did the Government make these representations in outreach to DACA applicants;

pursuant to its obligations under the e-Government Act, DHS also documented the information-

sharing prohibition in its 2012 Privacy Impact Assessment for DACA (the “2012 PIA”).26 In the

2012 PIA, DHS declared that “information provided in [a DACA request] is protected from

disclosure to ICE and CBP for the purpose of immigration enforcement proceedings unless the

individual meets the guidelines for the issuance of a Notice to Appear (“NTA”) or a referral to ICE

under [USCIS NTA guidance].”

       This commitment to prohibit sharing DACA applicant information with enforcement

authorities was essential to the successful implementation of the program. DACA could work only

if eligible young persons were willing to disclose the highly sensitive personal information needed


23
   See INSTRUCTIONS FOR CONSIDERATION OF DEFERRED ACTION FOR CHILDHOOD ARRIVALS,
USCIS FORM I-821D 13 (Jan. 9, 2017 ed.) (emphasis added)) (Ex. 14).
24
   See USCIS DACA FAQS, RESPONSE TO QUESTION 19 (Ex. 15) (emphasis added)).
25
   See Ex. 16 (DACA APPROVAL SAMPLE).
26
   See Ex. 17 (DHS/USCIS/PIA-045 ).


                                                 32
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to process their applications. The Government had to engage in aggressive outreach to build the

trust of such vulnerable persons, and doing so required making a promise of grave significance:

they induced hundreds of thousands of young individuals to turn over information that could be

used to destroy the futures for which those individuals hoped to attain through DACA. Compl.

¶¶ 10-16, 79-81, 91.

         While the Government contends there has been no “substantive change” to the

information-sharing prohibition, Gov. Br. 37, 38 (emphasis added), that disingenuous factual

averment is disputed, see Compl. ¶¶ 79-91, and is an area where discovery is appropriate. See

56(d) Decl. ¶¶ 7, 8, 9(c) & 10. Notably, the Government does not address the specific allegations

in the Complaint including that (i) the April 27, 2017 memorandum purports to rescind all privacy

commitments by declaring that “agencies may no longer extend the protections of the Privacy Act

to those other than U.S. Citizens and Lawful Permanent Residents,” Ex. 18, (ii) the Government

changed the information policy when it issued the DACA rescission to say that “[g]enerally,

information provided in DACA requests will not be proactively provided [by DHS] to other law

enforcement entities [for purposes other than those permitted under the exceptions],”27 or (iii)

Acting Secretary Duke’s publicly denied that there was any information sharing prohibition.

Compl. ¶¶ 108-112.

         Having denied that there has been a “substantive change,” the Government does not

attempt to explain or otherwise defend the change. This omission is fatal: “Where the agency has

failed to provide a reasoned explanation, or where the record belies the agency’s conclusion, we




27
     DHS, FREQUENTLY ASKED QUESTIONS: RESCISSION OF DACA Q8 (Ex. 19).



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must undo its action.” Petroleum Comm’ns, Inc. v. FCC, 22 F.3d 1164, 1172 (D.C. Cir. 1994);

see also Am. Tel. & Tel. Co. v. FCC, 974 F.2d 1351, 1354 (D.C. Cir. 1992) (same).28

       c. The revocation of the information-sharing prohibition is contrary to law. In issuing the

2012 PIA, DHS followed its longstanding policy to treat any personally identifiable information

collected, used, maintained and/or disseminated by DHS, regardless of whether such information

pertains to U.S. citizen, legal permanent resident, visitor or alien, as subject to the Privacy Act.29

Thus, even if the Privacy Act would not otherwise apply, as the Government now contends, Gov.

Br. 39, the Government expressly waived that statutory argument in the PIA. Compl. ¶¶ 83-89.30

       The Government’s E-Government Act argument, Gov. Br. 39-41, is equally unavailing.

The E-Government Act requires agencies to update existing PIAs, or to conduct new PIAs, when

a change in practices regarding information collection and use, business processes, or other

information systems changes create privacy risks or otherwise effect individuals’ privacy.31 By



28
   Even if the Government had proffered an explanation, the revocation of the information-sharing
prohibition would be impermissible by virtue of its retroactive, punishing impact. See, e.g.,
Velasquez-Garcia v. Holder, 760 F.3d 571 (7th Cir. 2014) (holding rule to be impermissibly
retroactive because the agency “‘had established an explicit standard of conduct, and now attempts
to punish conformity to that standard under a new standard subsequently adopted.’”) (quoting
Retail, Wholesale & Dep’t Store Union v. NLRB, 466 F.2d 380, 391 (D.C. Cir.1972)).
29
   Guidance Memorandum from Hugo Teufel III, Chief Privacy Officer, U.S. DHS, 2007-01: DHS
Privacy Policy Regarding Collection, Use, Retention, and Dissemination of Information on Non-
U.S. Persons (Jan. 7, 2009) (Ex.20).
30
   The Government’s citation of Fares v. U.S. Immigration and Naturalization Service, 50 F.3d 6
(4th Cir. 1995), Gov. Br. 40, is inapposite. The Government fails to note that Fares is an
unpublished disposition, which means the decision has no precedential value. Moreover, Fares
was decided almost 15 years before DHS declared its policy to treat all personally identifiable
information the same under the Privacy Act, regardless of the immigration status of the individual
to whom the information pertained. See DHS Guidance Memorandum of January 7, 2009 (cited
in preceding footnote). And as relevant to DACA, Fares preceded DHS’ decision to waive the
Privacy Act limitation with respect to DACA applicants’ personal information in the 2012
PIA. See 2012 PIA (Ex. 17) at 16, § 7.1.
31
   See DEPT. OF JUS., OFFICE OF PRIVACY AND CIVIL LIBERTIES, PRIVACY IMPACT ASSESSMENTS:
OFFICIAL GUIDANCE (last revised Mar. 2012), https://www.justice.gov/opcl/docs/2012-doj-pia-



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altering the information sharing prohibition, a policy change related to DACA that contradicts the

findings and representations made in the 2012 PIA without updating or replacing the 2012 PIA,

DHS has violated the E-Government Act. Because DHS has not acted in accordance with

applicable law, its challenged actions were arbitrary and capricious in violation of the APA. 5

U.S.C. §§ 702-706.




               2.      The DACA Rescission Memo is a Substantive Rule Subject to Notice-and-
                       Comment Rulemaking.

       Count V of the Complaint alleges that Defendants violated the APA because the rescission

of DACA was a substantive rule and failed to go through notice-and-comment rulemaking. In

support of this claim, the Complaint contains detailed factual allegations concerning the

substantive impact DACA and its rescission had on Dreamers, Compl. ¶¶ 7, 17, 20, 71-78, 92, 97-

106, and the irregularities in the revocation of these programs. Compl. ¶¶ 18, 21-25, 92-128, 162-

166.

       The DACA Rescission Memo is a substantive rule that prevents DHS from exercising

discretion in a class of cases and substantively limits Dreamers’ ability to work, live, attend school,

and travel. Therefore, DHS was required to comply with notice-and-comment procedures in

promulgating the DACA Rescission Memo. It undisputedly failed to do so.

       a. Under the § 553 of the APA, all substantive (or legislative) rules must go through the

notice-and-comment rulemaking process before they become effective. See Chrysler Corp. v.



manual.pdf; see also OFFICE OF MANAGEMENT AND BUDGET (“OMB”) MEMORANDUM, M-03-22,
OMB GUIDANCE FOR IMPLEMENTING THE PRIVACY PROVISIONS OF THE E-GOVERNMENT ACT OF
2002 (Sept. 26, 2003).



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Brown, 441 U.S. 281, 314 (1979); see also 5 U.S.C. § 551(5) (the definition of “rule making”

includes “the process of formulating, amending, or repealing a rule”) (emphasis added).32

        In determining whether a rule is substantive, a court must analyze whether the rule “has

the force of law, and creates new law or imposes new rights or duties.” Jerri’s Ceramic Arts, Inc.

v. Consumer Prod. Safety Comm’n, 874 F.2d 205, 207 (4th Cir. 1989); see also U.S. v. Mitchell,

39 F.3d 465, 470 (4th Cir. 1994). A rule is subject to notice and comment when it has a substantial

impact on those it seeks to regulate.33 Brown Express, Inc. v. United States, 607 F.2d 695, 702

(5th Cir. 1979). Conversely, general statements of policy are exempted from notice-and-comment

procedures pursuant to § 553(b)(3)(A). See 5 U.S.C. § 553(b)(3)(A); Chamber of Commerce of

U.S. v. U.S. Dept. of Labor, 174 F.3d 206, 213 (D.D.C. 1993). A rule or regulation is “a general

statement of policy if it does not establish a binding norm and leaves agency officials free to

exercise their discretion.” Chen Zhou Chai v. Carroll, 48 F.3d 1331, 1341 (4th Cir. 1995); Texas,

86 F.Supp. 3d at 666 (A “general statement of policy,” which is exempt from APA’s notice-and-

comment requirements for rulemaking, “is best characterized as announcing the agency’s tentative

intentions for the future.”).




32
   When engaged in such rulemaking, the agency must: (1) publish a general notice of proposed
rulemaking in the Federal Register that includes “the terms or substance of the proposed rule or a
description of the subjects and issues involved;” (2) give “interested persons an opportunity to
participate in the rule making through submission of written data, views, or arguments;” and (3)
“[a]fter consideration of the relevant matter presented . . . incorporate in the rules adopted a concise
general statement of their basis and purpose.” 5 U.S.C. § 553(b)-(c).
33
    Defendants cherry-pick language from National Association of Regulatory Utility
Commissioners v. United States Department of Energy indicating it would have been
“cumbersome and time-consuming” to require the agency to comply with full notice-and-comment
rulemaking procedures. 851 F.2d 1424, 1431 (D.C. Cir. 1988). Defendants decline, however, to
mention that the Department of Energy had still solicited public comments, was in the process of
responding to comments, and prepared a methodology for publication on the Federal Register. By
contrast, Defendants solicited no outside input before rescinding DACA.


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       Although the agency may characterize a rule as a general statement of policy, the “agency’s

statement . . . does not preclude our finding that is something more.” Jerri’s Ceramic Arts, Inc.,

874 F.2d at 207. An “agency cannot apply or rely upon a general statement of policy as law

because a general statement of policy only announces what the agency seeks to establish as policy.”

Am. Bus Ass’n v. United States., 627 F.2d 525, 529 (D.C. Cir. 1980) (citation omitted). Exceptions

to notice and comment requirements “are not to be used to escape the requirements of section 553.”

See id.; see also Chamber of Commerce of U.S. v. U.S. Dept. of Labor, 174 F.3d 206, 213 (D.D.C.

1999) (finding rule was not a general policy statement and required notice and comment

rulemaking where the “effect of the rule is . . . not to announce the agency’s tentative intentions

for the future, but to inform employers of a decision already made”).34 Exceptions to notice-and-

comment are narrowly construed and, if a rule is substantive, all “notice-and-comment

requirements must be adhered to scrupulously.”35 Texas, 787 F.3d at 762.

       b. Here, the Rescission Memo is a substantive rule that should have complied with the

APA’s notice-and-comment requirements because it binds DHS and substantially affects the rights

of DACA recipients.

       The “cabining of an agency’s prosecutorial discretion can in fact rise to the level of a

substantive, legislative rule.” Cmty. Nutrition Inst. v. Young, 818 F.2d 943, 948 (D.C. Cir. 1987)

(“CNI”); see Municipality of Anchorage v. United States, 980 F.2d 1320, 1324 (9th Cir. 1992)

(The “critical factor” in evaluating the substantive nature of an agency action is “the extent to



34
   Compare Am. Bus Ass’n v. United States., 627 F.2d 525, 532 (D.C. Cir. 1980) (use of “will”
indicates statement is in fact a binding norm) with Guardian Fed. Sav. and Loan Ass’n v. Fed.l
Sav. & Loan Ins. Corp., 589 F.2d 658, 666 (D.C. Cir. 1978) (use of “may” indicates statement is
a “general statement of policy”).
35
   As the Fourth Circuit has recognized, “[t]he important purposes of . . . notice and comment
procedure cannot be overstated.” N. Carolina Growers’ Ass’n v. United Farm Workers, 702 F.3d
755, 763 (4th Cir. 2012).


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which the challenged [rule or regulation] leaves the agency, or its implementing official, free to

exercise discretion to follow, or not to follow, the [announced] policy in an individual case.”);

Alaska v. U.S. Dep’t of Transp., 868 F.2d 441, 441 (D.C. Cir. 1989) (holding that agency order

with “mandatory language cabining DOT’s enforcement discretion” was a substantive rule); cf.

Nat’l Min. Ass’n v. McCarthy, 758 F.3d 243, 252 (D.C. Cir. 2014) (finding agency guidance was

“meaningless” legally since it “imposes no obligations or prohibitions on regulated entities” and

because authorities “are free to ignore it”).36

       Here, the DACA Rescission Memo creates a binding norm and categorically curtails

DHS’s discretion to grant Dreamers deferred action status—and accordingly, it is a “substantive”

rule that should have complied with the requisite rulemaking procedures under § 553. Specifically,

the DACA Rescission Memo mandates that (1) Defendants will immediately cease accepting

applications under DACA; (2) Defendants will issue renewals only for recipients whose DACA

permits expire between September 5, 2017 and March 5, 2018, only if they apply for renewal by

October 5, 2017; (3) Defendants will not issue renewals for recipients whose permits expire after

March 5, 2018; and (4) Defendants will not approve any new or pending applications for advance

parole for DACA recipients. Defendants’ assertion that DHS “does not categorically forbid the




36
   CNI is instructive: in that case, organizations and private citizens challenged the promulgation
of a FDA statement that established “action levels” to notify food producers of the allowable levels
of unavoidable contaminants in food. See 818 F.2d at 945. Although the CNI court gave some
deference to the agency’s characterization of the statement as a general statement of policy, it
concluded the rule was substantive and vacated it for failure to comply with the requisite notice-
and-comment procedures because (1) the language used in creating and describing “action levels”
suggested a present effect and was binding; (2) the present, binding effect was confirmed by the
fact that the FDA considered the “action levels” as necessary for food producers to secure
exceptions to the action levels; and (3) the FDA had made statements indicating that the action
levels established a binding norm. See id. at 947.



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agency from continuing to defer enforcement action against DACA recipients,” Gov. Br. 43, is

contradicted by the clear terms of the DACA Rescission Memo.37

       In addition, the DACA Rescission Memo also has the “force and effect of law” on

Dreamers. See Chrysler Corp., 441 U.S. at 282; see also Elec. Privacy Info. Ctr. v. U.S. Dep’t. of

Homeland Sec., 653 F.3d 1, 6 (D.C. Cir. 2011) (finding that a rule which allowed the

Transportation Security Administration to screen airline passengers by using advanced imaging

technology could not be exempt from rulemaking requirements, since the change substantially

changed the experience of airline passengers with regard to privacy and security “to a degree

sufficient to implicate the policy interests animating notice-and-comment rulemaking”).

       The DACA Rescission Memo fundamentally and substantively changes the ability of

Dreamers to work, live, attend school, obtain credit, and travel in the United States. For example,

the DACA Rescission banned current DACA recipients from receiving advance parole based on

their DACA eligibility. See AR 255 (DHS “[w]ill not approve any Form I-131 applications for

advance parole under standards associated with the DACA program” and “[w]ill administratively

close all pending Form I-131 applications” filed under the DACA program.) (emphasis added).

This is more than a suggested policy—this is a mandated action preventing DACA recipients from

traveling. Because DHS has failed to comply with the APA’s procedures in promulgating this

substantive rule, the Rescission must be set aside.




37
   The sole reference to DHS’s discretion in the DACA Rescission Memo relates to the ability of
DHS to continue early termination of deferred action. See AR 255 (“[DHS] will continue to
exercise its discretionary authority to terminate or deny deferred action at any time when
immigration officials determine termination or denial of deferred action is appropriate.”) Thus, it
is clear that DHS has promulgated a substantive rule that eliminates discretion to grant deferred
action status without complying with the APA’s notice-and-comment requirements.


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       Finally, Defendants’ assertion that the promulgation of the 2012 DACA Memorandum

without notice-and-comment excuses the failure to conduct notice-and-comment for its rescission

because the program was “void ab initio,” Gov. Br. 41, is legally without merit. It is well-

established that the APA’s notice-and-comment requirement attaches to the rescission of a

substantive rule regardless of whether the rule initially went through this procedure. See State

Farm, 463 U.S. 29 at 41 (When an agency rescinds a substantive rule, it is “obligated to supply a

reasoned analysis for the change beyond what may be required when the agency does not act in

the first instance.”); Mada-Luna, 813 F.2d at 1018 n.12 (“[W]hen the government seeks to repeal

a regulation, it is generally not bound for [notice-and-comment] purposes by the way it classified

that regulation at the time of its promulgation.”). The rescission of a substantive rule requires

notice and comment even if the original process was defective. See Consumer Energy Council v.

FERC, 673 F.2d 425, 448 (D.C. Cir. 1982) (“The argument that repeal was required because the

regulations were defective does not explain why notice and comment could not be provided.”).

This requirement is necessary to prevent Defendants from circumventing the APA. See id. at 447

n.79 (“The Commission’s argument that notice and comment requirements do not apply to

‘defectively promulgated regulations’ is untenable because it would permit an agency to

circumvent the requirements of § 553 merely by confessing that the regulations were defective in

some respect and asserting that modification or repeal without notice and comment was necessary

to correct the situation.”).38 The requirement helps ensure that an agency like DHS is not able to



38
  Defendants’ reliance on Chen Zhou Chai, 48 F.3d at 1341 n.9, for the proposition that the interim
rule would have had been invalid from the date of issuance if it were substantive is unpersuasive.
As an initial matter, the statement was merely dicta contained in a footnote that does not address
the question of whether notice-and-comment rule making is needed for the rescission of a rule.
Moreover, Chen Zhou Chai ignores the fact that a court can use its equitable powers to protect
challenged rules from immediate invalidation. See, e.g., U.S. Steel Corp. v. EPA, 649 F.2d 572,



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“undo all that it accomplished” through a program “without giving all parties an opportunity to

comment on the wisdom” of that action. Id. at 446;39 see also United States ex rel. Parco v. Morris,

426 F. Supp. 976 (E.D. Pa. 1977) (holding the rescission of voluntary departure status required

notice-and-comment procedures even though the program itself was adopted without such

procedures).

       Because the DACA Rescission Memo is a substantive rule revoking existing discretion of

immigration officials, DHS is obligated to follow notice-and-comment procedures, regardless of

whether DACA should have gone through such procedures.




       B.      The Complaint States a Claim for Violations of the Equal Protection Clause

        Count III of the Complaint alleges that the Government violated the Equal Protection

Clause. In support of this Count, the Complaint contains detailed factual allegations concerning

the Government’s disparate treatment of allowing non-predominantly Latino deferred action

programs to continue, the discriminatory impact of ending DACA (i.e., that over ninety percent of

DACA recipients were Mexican, Central American, or Latino), and considerable evidence of

senior Government officials exhibiting their animus towards Mexicans, Central Americans, and

Latinos, including eighteen distinct, detailed examples of statements exhibiting discriminatory

animus. Compl. ¶¶ 24-25, 68, 94-96.




575-77 (8th Cir. 1981) (leaving rule in effect pending completion of further administrative
proceedings); W. Oil & Gas Ass’n, 633 F.2d at 812-13 (same).
39
   Moreover, a court considering a petition for review on an agency action “may adjust its relief to
the exigencies of the case in accordance with the equitable principles governing judicial action.”
Ford Motor Co. v. NLRB, 305 U.S. 364, 373 (1939).


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        In an equal protection case, disparate impact evidence may be considered alongside the

following non-exhaustive list of “subjects of proper inquiry in determining whether racially

discriminatory intent existed”:

        [1] The historical background of the decision . . . particularly if it reveals a series
        of official actions taken for invidious purposes.

        [2] The sequence of events leading up [to] the challenged decision . . . .

        [3] Departures from the normal procedural sequence . . . . [and]

        [4] The legislative or administrative history . . . especially where there are
        contemporary statements by members of the decision making body, minutes of its
        meetings, or reports. In some extraordinary instances the members might be called
        to the stand at trial to testify concerning the purpose of the official action . . . .

Vill. of Arlington Heights v. Metro. Housing Dev. Corp., 429 U.S. 252, 266-67 (1977); see also

Washington v. Davis, 426 U.S. 229, 241-242 (1976) (“Necessarily, an invidious discriminatory

purpose may often be inferred from the totality of the relevant facts, including the fact that the law

bears more heavily on one race than another”). The Supreme Court has repeatedly recognized that

the Fifth Amendment’s “equal protection component,” see Harris v. McRae, 448 U.S. 297, 321

(1980), applies to non-citizens like DACA recipients. See Plyler v. Doe, 457 U.S. 202, 210 (1982).

        Under this standard, Count III more than adequately states a claim. Plaintiffs allege the

Government’s rescission of DACA is based on discrimination based on race, national origin, and

ethnicity, as demonstrated by all of the non-exhaustive factors listed by the Court in Arlington

Heights. Specifically, the complaint identifies the discriminatory impact of the decision on

Mexicans, Central Americans, and Latinos (Compl. ¶¶ 24, 157, 159), and it sets forth the historical

background of DACA Rescission and the sequence of events leading up to it (id. ¶¶ 2-17, 93), the

many ways in which the DACA Rescission was a departure from normal procedures (id. ¶¶ 18,

21-22, 118-128), and the ongoing pattern of statements revealing a discriminatory intent. The

latter includes:


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          Candidate Trump’s discriminatory statements about immigrants of Mexican, Central
           American, and Latin American descent in February 2015 (“criminals”), June 2015
           (“rapists”), August 2015 (“the bad ones”), May 2016 (“criminals” and “thugs”), June
           2016 (Judge Gonzalo Curiel was “Hispanic,” “pro-Mexican,” and “a very hostile judge
           to me”), August 2016 (“illegal workers draw much more out from the system than they
           can ever possibly pay back … no one will be immune or exempt from enforcement”),
           and October 2016 (“bad hombres” and “we’re going to get them out”). Compl. ¶¶ 25,
           94;

          President-elect Trump’s discriminatory statements about immigrants of Mexican,
           Central American, and Latin American descent in December 2016 (people from Central
           America are “killing and raping everybody out there. They’re illegal. And they are
           finished.”). Compl. ¶ 94; and

          President Trump’s discriminatory statements about immigrants of Mexican, Central
           American, and Latin American descent in 2017 (January: “We are going to get the bad
           ones out. . . The criminals and the drug deals, and gangs. . .” and “tough hombres”),
           (February: “They’re rough and they’re tough…. So we’re getting them out”), (June:
           “true animals” and “bad people”). Id.

The Complaint also identifies statements reflective of discriminatory intent from other officials,

including the Attorney General and White House Senior Policy Advisor Stephen Miller. Id.

       Only by ignoring the actual factual allegations of the Complaint and misstating the law

does the Government challenge Plaintiffs’ Equal Protection claims on three flawed grounds. First,

the Government erroneously contends that an Equal Protection challenge is non-reviewable under

AADC and Armstrong, Gov. Br. at 45-47; for the reasons described above, that is incorrect. AADC,

which concerns the right of individuals to challenge interim decisions under 8 U.S.C. §1252(g),

says nothing to suggest the Government has unreviewable authority to intentionally discriminate

in the administration of immigration laws in violation of the Equal Protection Clause; rather the

Supreme Court has consistently held that the Equal Protection Clause extends “to all ‘persons’

within the United States, including aliens, whether their presence here is lawful, unlawful,

temporary or permanent.” Zadvydas, 533 U.S. at 694-95; see also Int’l Refugee Assistance Project

v. Trump, 857 F.3d 554, 597 n.19 (4th Cir. June 15, 2017) (rejecting argument that AADC insulates




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“the President and other executive officials from judicial scrutiny” when their “official acts violate

the Constitution.”) (IRAP II), vacated as moot, Trump v. Int’l Refugee Assistance Project, No. 16-

1436, 2017 WL 4518553 (U.S. Oct. 10, 2017).40 Similarly Armstrong, which concerns an

individual criminal defendant’s assertion that their prosecution was “selective,” says nothing to

suggest the Government’s conduct is unreviewable. Rather, Armstrong states unequivocally that

the government decision “may not be based on an unjustifiable standard such as race, religion, or

other arbitrary classification.” 517 U.S. at 464 (internal quotations and citation omitted). Here,

the challenged decision is a discriminatory policy decision (not a challenge to a particular

prosecution) that has a discriminatory impact and was motivated by discriminatory animus. 41

       Second, the Government contends that the strong “disparate impact”—which the

Government concedes, Gov. Br. at 46 (acknowledging that 93 percent of affected individuals are

Mexican, Central American, or Latino)—is insufficient to allege an Equal Protection violation

under Davis, 426 U.S. at 242. See Gov. Br. 46-47. Again, the Government ignores the allegations

in the Complaint about discriminatory motive. The Complaint pleads in great detail an actual and

specific discriminatory intent on the basis of race, national origin, and ethnicity, as established by

numerous statements of the individuals who influenced, designed, and implemented the Rescission

decision. See Compl. ¶¶ 24-25, 94-96, 154-161. And this is an area where additional discovery is

warranted. See Rule 56(d) Decl. ¶¶ 5 & 9(d).




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   Indeed, even for individuals contesting removal proceedings, the AADC court noted that its
holding did not address cases which contested deportation “in which the alleged basis of
discrimination is . . . outrageous.” 525 U.S. at 492.
41
   For example, the Complaint identifies 18 separate statements by senior Government officials
exhibiting animus towards Mexicans, Central Americans, and Latinos leading up to the rescission
decision. Compl. ¶¶ 94-96. There were no equivalent statements presented in Armstrong.


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        Third, the Government dismissively mischaracterizes the statements of animus by

suggesting that “most were before the [President] took the oath of office” and did not come out of

the mouth of the “decisionmaker ultimately responsible for the Rescission Policy.” Gov. Br. 47.

Again, the Government ignores the allegations of the Government’s animus against Mexicans,

Central Americans, and Latinos (i) continuing after the President assumed office and has been

exhibited in at least nine separate statements, see Compl. ¶¶ 25, 94, 96, and (ii) demonstrated by

other senior Government officials. See id. ¶ 96 (alleging statements made by officials in March

and July 2017). It also ignores the allegations that the decision to rescind DACA was collectively

made by numerous government officials, including the President, the Attorney General, and the

Acting DHS Secretary. Compl. ¶¶ 60-66, 157-161. To the extent the Government contends that

Acting Secretary Duke is solely responsible for the decision, that is a contested issue of fact that

should not be resolved on a Rule 12(b) motion. See Exs. 2, 5, 8, 9. See also Rule 56(d) Decl. ¶¶

9(a)(iii)&(iv) (discussing evidence of the other individuals involved in the decision to rescind

DACA). Moreover, the Government’s argument that the President’s expressions of racial animus

prior to assuming office are irrelevant is legally wrong: the “historical background of the decision.

. . particularly if it reveals a series of official actions taken for invidious purposes” is the “subject[

] of proper inquiry in determining whether racially discriminatory intent existed.” Arlington

Heights, 429 U.S. at 266-67; see also McCreary Cty., Ky. v. Am. Civil Liberties Union of Ky., 545

U.S. 844, 866 (2005) (“[T]he world is not made brand new every morning,” and courts should not

“turn a blind eye to the context in which [the] policy arose”). It is for this reason that both the

Fourth Circuit and Judge Chuang held in the Travel Ban litigation that President Trump’s

campaign statements are unmistakably relevant in evaluating whether the government’s actions




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are motivated by impermissible considerations. See IRAP, 2017 WL 4674314, at *5-6; IRAP II,

857 F.3d at 598-601.

       There are sufficient allegations of discriminatory animus that the burden shifts to the

Government to show that the Rescission was in service of a compelling governmental interest and

narrowly tailored. That issue cannot be resolved in favor of the Government on a motion to

dismiss, and the Government makes no attempt to argue otherwise. Indeed, the Administrative

Record here shows the Government likely will never be able to sufficiently justify the policy, with

virtually no consideration of the human and economic costs and no consideration at all of

alternatives to the deportation of 800,000 individuals, and that the Rescission was motivated by

racial and national origin animus. The Government’s request to dismiss the Third Count of the

complaint should be denied.

       C.      The Complaint States Claims for Violations of the Due Process Clause

       Counts I and II of the Complaint allege that Defendants violated Plaintiffs’ procedural and

substantive due process rights when it stripped Plaintiffs of their ability to work, raise a family,

maintain family integrity, and pursue their educations (Count I), and disregarded the protections

afforded the critically sensitive personal information they shared when they applied for DACA

(Count II). Compl. ¶¶ 129-153. In support of these Counts, the Complaint contains detailed factual

allegations concerning the various interests and commitments the Government made to DACA

applicants to induce them to participate in the program, Compl. ¶¶ 10-16, 19-20, 71-91, the

irregular process the Government has used to strip these interests from DACA recipients, Compl.

¶¶ 97-128, and the actions taken by the Government to strip these interests from DACA recipients

because of the discriminatory animus of the individuals who influenced, designed, and

implemented the rescission decision. See Compl. ¶¶ 24-25, 94-96.




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        Defendants contend Plaintiffs fail to state either a procedural or substantive due process

claim. Gov. Br. 48-54. This remarkable contention is premised on a complete disregard for

bedrock constitutional principles and wholesale revision of Plaintiffs’ Complaint. Under the actual

law and actual well-pled allegations, these claims are more than adequately stated.

                1.      The Complaint Alleges Violations of Procedural Due Process

        To state a claim of a violation of procedural due process, Plaintiffs must demonstrate that:

(1) they had a constitutionally protected interest; (2) of which the government deprived them by

its sudden and arbitrary action; (3) without due process of law. See, e.g., Tri-County Paving, Inc.

v. Ashe County, 281 F.3d 430, 436 (4th Cir. 2002). The Government makes two arguments against

Plaintiffs’ procedural due process claims. Neither has merit.

        a. It is axiomatic that “the Due Process Clause applies to all persons within the United

States, including aliens, whether their presence here is lawful, unlawful, temporary, or permanent.”

United States v. Lopez-Collazo, 824 F.3d 453, 460–61 (4th Cir. 2016), cert. denied, 137 S. Ct. 628

(2017) (quoting Zadvydas, 533 U.S. at 693 (2001)) (internal quotations omitted). Yet, the

Government argues that plaintiffs have no “protected interests.” Gov. Br. at 48-50, 52. Plaintiffs

specifically allege a host of property and liberty interests impugned by the DACA rescission: the

ability, among others, to obtain employment authorization (Compl. ¶ 72), travel outside of the

United States (id. ¶ 73), attend educational institutions (id. ¶ 74), to pay into and be eligible for

certain benefit programs such as Social Security and disability (id. ¶ 75); to secure access to other

opportunities on which Americans depend, such as opening bank accounts and obtaining credit

cards (id. ¶ 77); and to be considered “lawfully present” by DHS (id. ¶ 78). It is undisputed that

the panoply of work, travel, educational and family benefits that flowed from DACA are protected

interests. See, e.g., Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 572 (1972) (protected

interests include, “without doubt, . . . the right of the individual to contract, to engage in any of the


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common occupations of life, to acquire useful knowledge, to marry, establish a home and bring up

children, to worship God according to the dictates of his own conscience, and generally to enjoy

those privileges long recognized . . . as essential to the orderly pursuit of happiness by free men”).

       Instead of addressing these protected interests, the Government contorts the Complaint to

portray the interest at issue as limited to “deferred action” status. Gov. Br. 49-50. This is nonsense.

The Government’s abrupt decision to terminate DACA deprived Plaintiffs not only of an

immigration status, but more fundamentally the panoply of attendant interests identified in the

Complaint that Dreamers have relied on to build their lives in this country.

       Without this fundamental misconstruction of the Complaint, the Government’s argument

that Plaintiffs fail to allege a protected interest unravels. All of the Government’s arguments and

authority rely on a need to create a source for protected interests. See Gov. Br. at 48 (averring that

only “statutes or regulations” can bestow protected interests), 49-50 (no protected interest where

“government officials may grant or deny it in their discretion”). In any event, they are wrong.

Property and liberty interests “are not limited by a few rigid, technical forms,” and are “secured

by ‘existing rules or understandings.’” Perry v. Sindermann, 408 U.S. 593, 601 (1972) (quoting

Roth, 408 U.S. at 577).         The Fourth Circuit has repeatedly recognized that “rules or

understandings” encompasses a wide variety of governmental actions that provide specific benefits

to particular individuals, including everything from statutes, regulations, city charters, contracts,

and permits.42 Such is the case here: with promises that DACA recipients would enjoy interests




42
   See, e.g., Gardner v. City of Balt. Mayor & City Council, 969 F.2d 63, 68 (4th Cir. 1992)
(property interests created by a city’s charter and its planning commission’s subsequent
regulations); Royster v. Bd. of Tr’s of Anderson Cty. Sch. Dist. No. Five, 774 F.2d 618, 620 (4th
Cir. 1985) (contracts are “the independent source for the property interest”); Ruttenberg v. Jones,
No. 07-1037, 2008 WL 2436157, at *6 n.2 (4th Cir. June 17, 2008) (property interest created by a
conditional use permit).


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enjoyed by legal residents of the United States, the government enticed hundreds of thousands of

vulnerable young people to step forward; in short, it was precisely the type of “mutual

understanding” that the Supreme Court held creates interests protectable by the Due Process

clause. Perry, 408 U.S. at 601.

       For the same reason, the Government’s contention that Plaintiffs have no protected interest

in having their application data protected from disclosure to enforcement officials fails. Gov. Br.

51-52. The Government ignores Plaintiffs’ allegations of the Government’s (i) unequivocal

assurances not to share applicant data with immigration enforcement authorities, and (ii) express

recognition of this commitment for purposes of the Privacy Act. See Compl. ¶¶ 79-91. It was

precisely these assurances that created a protected interest in Plaintiffs’ sensitive personal

information.

       Instead, the Government makes a contested factual averment that DACA applicants were

“consistently advised” that this protection could be “modified, superseded, or rescinded” at any

time. Gov. Br. 52. This averment is improper in a Rule 12(b) motion, dooms the Government’s

alternative Rule 56 motion, and is inaccurate. For example, the following image is taken from the

DHS PowerPoint described in paragraph 81 of the Complaint:




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Contrary to the Government’s averment, this slide (Ex. 21) contains no representation that the

information sharing policy could be changed. Similarly, the general guidance on the USCIS

website similarly reassured applicants that their applications would be submitted to a “lockbox”

and would not be shared with immigration enforcement, and contained no warning that the policy

could be modified or rescinded. Likewise, when the DHS Secretary wrote to Congress on

December 30, 2016 that DHS had “consistently made clear that information provided by applicants

. . . will not later be used for immigration enforcement,” Compl. ¶ 89, it contained no suggestion

that the information sharing policy could be changed (Ex. 22).43 There are undoubtedly further

instances of unqualified commitments in the Government’s files, and this is an area where further

discovery is appropriate. See Rule 56(d) Decl. ¶¶ 7, 8, 9(b)&(c) & 10.

        The well-pled facts alleged in the Complaint, which the Court must accept as true,

demonstrate that the Defendants created and guaranteed (and then improperly deprived) protected

interests for Plaintiffs in their ability to work, travel, attend school, maintain family integrity, and

that their sensitive information would not be shared with ICE or CBP. See SD3, LLC v. Black &

Decker (U.S.) Inc., 801 F.3d 412, 422 (4th Cir. 2015).




43
  In an apparent attempt to argue that no right has been deprived, the Government repeats its false
claim that DHS has not substantively changed its sensitive information protection policy. Gov.
Br. 51-52. As discussed supra at Argument II.A.1.b, it has. The Government also submits that no
personal information “has in fact been impermissibly shared” to date since no Plaintiff or Dreamer
has lost their status yet. Id. at 51. This ignores that the Complaint identifies six specific instances
where the Government has commenced enforcement proceedings against Dreamers. Compl.
¶ 111. Moreover, courts have roundly rejected the “mechanical and simplistic” distinction
between those whose benefits have already been deprived and those whose benefits are expected
to be deprived in the future. See Mallette v. Arlington Cty. Emp’s Supplemental Ret. Sys. II, 91
F.3d 630, 639-640 (4th Cir. 1996) (collecting cases). As Batalla Vidal found, changes in DHS’s
information use-policy “will likely result in more undocumented immigrants’ removal from the
United States.” 2017 WL 5201116, at *18. To do so, the government will necessarily need to rely
on the sensitive information shared by the DACA recipients—their name, address, family
members—to locate, detain and deport them.


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       b. The Government’s contention that the deprivation of these protected interests does “not

require individualized process” is specious. Gov. Br. 50-51. Due process, at a minimum, requires

that a person be given notice of impending action and afforded a hearing. Richardson v. Town of

Eastover, 922 F.2d 1152, 1159 (4th Cir. 1991). DACA’s internal procedures established that there

would be both notice and an opportunity to be heard. Compl. ¶ 78. Plaintiffs were afforded no

such notice or opportunity to be heard. Compl. ¶¶ 118, 138, 151.

       Individualized process is required where, as here, there is no process that would provide a

group of individuals an opportunity to be heard. See Kapps v. Wing, 404 F.3d 105, 118 (2d Cir.

2005) (where an administrator’s rules arbitrarily denied a group of applicants an opportunity to

appeal, those applicants were entitled to individualized notice and an opportunity to be heard

because there was no other outlet for review). The Government’s cases are inapt. Bi-Metallic Inv.

Co. v. State Bd. of Equalization, 239 U.S. 441 (1915) (Gov. Br. 50), examined whether a state tax

commission was authorized to increase the tax rates of a group without providing individualized

notice or an opportunity to be heard; the Court found that individualized notice was not required

because the affected individuals were “protected” by the political process.” Id. Yassini v.

Crosland, 618 F.2d 1356 (9th Cir. 1980) (Gov. Br. 51), emphasized that no hearing was

constitutionally required especially where, inter alia, “there [was] a post-decision review.” Id. at

1363 (citations omitted and emphasis added). Neither process is available to Plaintiffs.

       In short, the law is clear—it remains unconstitutional to deprive individuals of protected

interests without due process of law. Kerr v. Marshall Univ. Bd. of Gov., 824 F.3d 62, 80 (4th Cir.

2016). As alleged, Plaintiffs were not afforded such notice and are entitled to challenge that

deprivation. Because the Government disputes this, this an area where further discovery is

appropriate. See Rule 56(d) Decl. ¶ 6.




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               2.      The Complaint Alleges Violations of Substantive Due Process

       To state a claim for a violation of substantive due process, Plaintiffs must allege that: (1)

the interest at issue is protected by the substantive due process clause and (2) the government’s

deprivation of that protected interest “shocks the conscience.” Cty. of Sacramento v. Lewis, 523

U.S. 833, 845, 848 (1988). The “touchstone of due process” is “protection of the individual against

arbitrary action of government, whether the fault lies in a denial of fundamental procedural

fairness, or in the exercise of power without any reasonable justification in the service of a

legitimate governmental objective.” Id. at 845–46 (citations omitted).

       Although the Government concedes that a denial of fundamental fairness constitutes a

violation of substantive due process rights, Gov. Br. 53, they contend that the substantive due

process claims should be dismissed because Plaintiffs do not provide a sufficiently detailed

description of their fundamental rights, and do not allege actions by the Defendants that “shock

the conscience.”    Gov. Br. 52-53.     Again, the Government ignores the core of Plaintiffs’

allegations—that they have been targeted for deprivation of protected interests based on the

shocking discriminatory animus of senior Government officials against Mexicans, Central

Americans, and Latinos. Compl. ¶¶ 94-96.

       The discriminatory motivation underlying the DACA rescission is the definition of conduct

that shocks the conscience. To shock the conscience “the conduct must be ‘intended to injure in

some way unjustifiable by any government interest.’” Hawkins v. Freeman, 195 F.3d 732, 738,742

(4th Cir. 1999) (quoting Lewis, 523 U.S. at 849). Conduct is unjustifiable by any “government

interest” and can be fairly said to shock the conscience if it “involves abusing executive power, or

employing it as an instrument of oppression.” Int’l Ass’n of Machinists & Aerospace Workers v.

Haley, 482 F. App’x 759, 766 (4th Cir. 2012) (quoting Martin v. Saint Mary’s Dep’t of Social

Serv’s, 346 F.3d 502, 511 (4th Cir. 2000)); Hawkins, 195 F.3d at 741–42. Defendants’ actions and


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statements were loaded with shocking generalizations of all Mexicans and Latin Americans as

“criminals,” “thugs,” “rapists,” and “bad hombres.” Complaint ¶ 94. It was on the heels of those

statements about the national origin of 93% of DACA recipients that the program was rescinded,

creating the strong conclusion that the policy change was based on race or national origin. Taken

as true, the facts alleged point clearly to an “abuse of executive power” that is “unjustifiable by

any government interest.” Cf. Romer v. Evans, 517 U.S. 620, 634–35 (1996) (“[A] bare . . . desire

to harm a politically unpopular group cannot constitute a legitimate governmental interest.”)

(emphasis added).

       Similarly, the Government’s breaking of their unequivocal promise to DACA applicants

that their most personal information would not be used for enforcement purposes is shocking. This

unconstitutional bait-and-switch violates Plaintiffs’ right to due process.        See, e.g., Cox v.

Louisiana, 379 U.S. 559, 571 (1965); Raley v. Ohio, 360 U.S. 423, 438-39 (1959).

       Plaintiffs are entitled to a subjective assessment of these factual allegations. Courts have

continually noted the “shocks-the-conscience” test is “no calibrated yard stick” and is “laden with

subjective assessments.” Hawkins, 195 F.3d at 741–42 (quoting Lewis, 523 U.S. at 847, 857).

“[B]ecause specific conduct that in one context would meet the test might not in another,

application of this standard demands an exact analysis of circumstances.” Hawkins, 195 F.3d at

742 (citations omitted). Plaintiffs are entitled to such a review of these factual allegations to

determine whether the termination of a program relied on by 800,000 people constitutes an action

“fatally arbitrary in the constitutional sense” or “so egregious, so outrageous, that it may fairly be

said to shock the contemporary conscience.” Id. at 738, 742. To the extent that Defendants

disagree with those factual allegations, their disagreement is unavailing on a motion to dismiss.

Accordingly, Defendants’ motion to dismiss these claims must fail.




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       D.      The Complaint States a Claim for Equitable Estoppel

       Count VI of the Complaint alleges that the Government should be estopped from

abandoning its commitment not to share DACA applicant information with immigration

enforcement authorities. In support of this Count, the Complaint alleges that since the DACA

program was announced in 2012, the Government—in numerous publications and statements by

officials at the highest levels—repeatedly and affirmatively assured DACA applicants that the

Government would not use the personal information provided in the DACA application process

for enforcement purposes. Compl. ¶¶ 79-91. Because the Government intended to (and did)

induce participants to apply to DACA based on these commitments, and because DACA applicants

did indeed rely on these commitments to protect their personal information, the Government is

estopped from now using this information for enforcement purposes.

       The Government again misstates the law and allegations of the Complaint to oppose

Plaintiffs’ estoppel claim. Contrary to the Government’s argument, Gov. Br. 54-55, a cause of

action in estoppel may lie against the Government where, as here, the Government acts in a manner

that violates the “interest of citizens in some minimum standard of decency, honor, and reliability

in their dealings with their Government,” Heckler v. Cmty Health Serv’s of Crawford Cty., Inc.,

467 U.S. 51, 60-61 (1984), or where “justice and fair play require it.” Watkins v. U.S. Army, 875

F.2d 699, 706 (9th Cir. 1989); see also Office of Pers. Mgt. v. Richmond, 496 U.S. 414, 423 (1990)

(rejecting a “sweeping rule” establishing that “no estoppel claim could ever succeed against the

Government.”).

       It is well-established that the Government may be estopped when it engages in “affirmative

misconduct going beyond mere negligence.” Angeles v. Dist. Dir., INS, 729 F. Supp. 479, 485 (D.

Md. 1990). The Complaint alleges well-pled facts that the Government’s action here goes beyond




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mere negligence: the Government has intentionally abandoned its commitment that it would not

take enforcement actions against individuals who relied upon assurances by the Government that

their personal information would not be used in furtherance of enforcement proceedings. Compl.

¶¶ 108, 111, 112.

       The Government’s conduct here satisfies all of the elements of estoppel.44                The

Government affirmatively intended DACA recipients to rely on the promise not to use personal

information for enforcement purposes. See Compl. ¶¶ 9-16, 79-81. The Government itself has

publicly acknowledged that this information was “most assuredly relied” upon by DACA

applicants to their detriment. Compl. ¶¶ 84-89. The Government, and not the DACA participants,

are aware of the true nature of the Government’s bait-and-switch policy regarding personal

information. Compl. ¶¶ 21-22, 84-88, 107-112. This is an area where further discovery is

appropriate. See Rule 56(d) Decl. ¶¶ 7, 8, 9(b)&(c) & 10.

       Contrary to the Government’s suggestion, Gov. Br. 54, estoppel is available where

individuals have relied to their detriment on government policy. Indeed, the Government’s

violation of its commitment to DACA applicants is similar in kind to other instances where the

Government has been estopped from taking action against individuals who relied, to their

detriment, on prior official policies by the Government. For example, in United States v. Penn.

Indus. Chem. Corp. (“PICCO”), the Supreme Court found that a plaintiff charged with violating

pollution laws must have the opportunity to bring evidence that it reasonably relied on the

regulations in force at the time of its action as a defense to prosecution. 411 U.S. 655, 675 (1973).



44
  These elements are: “(1) the party to be estopped knew the true acts; (2) the party to be estopped
intended for his conduct to be acted upon or acted in such a way that the party asserting estoppel
had a right to believe that it was intended; (3) the party claiming estoppel was ignorant of the true
facts; and (4) the misconduct was relied upon to the detriment of the parties seeking estoppel.”
Dawkins v. Witt, 318 F.3d 606, 611, n. 6 (4th Cir. 2003).


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Similarly, in Watkins v. U.S. Army, the court found that the Army was estopped from discharging

a homosexual officer on the basis of a regulation barring homosexuals from serving in the military

after allowing him to reenlist numerous times with full awareness of his sexual orientation. 875

F. 2d at 710-11; see also United States. v. Cox, 964 F.2d 1431, 1434-35 (4th Cir. 1992) (finding

that Government was estopped from refusing to pay court-appointed psychiatrist after agreeing to

do so).

          Finally, the Government contends it would not constitute a “serious injustice” if DACA

applicant information was used for immigration enforcement proceedings because the Government

has made the factual averment that “nothing” about the commitment “could be construed to

represent to DACA recipients that DACA policy was permanent and not subject to change.” Gov.

Br. 56. This factual averment is disputed and belied by the well-pled factual allegations in the

Complaint. See Compl. ¶¶ 21-22, 84-88, 107-112 & Section II.C.

III.      DEFENDANTS’ ARGUMENTS REGARDING A NATIONWIDE INJUNCTION
          ARE PREMATURE AND LEGALLY INCORRECT

          The Government’s arguments that declaratory relief and a nationwide injunction are not

available remedies to Plaintiffs, Gov. Br.57-59, are premature and more appropriately addressed

in conjunction with Plaintiffs’ motion for injunctive relief. Moreover, they are predicated on

incorrect statements of the law. Declaratory relief is available under the APA, see Bowen v. Mass.,

487 U.S. 879 (1988), and under the Declaratory Judgment Act, 28 U.S.C. § 2201. Plaintiffs claim

that the Government’s decision to rescind DACA is, among other things, unconstitutional. Compl.

¶¶ 129-161. The APA provides relief for government decisions that are, among other reasons,

contrary to law and “contrary to constitutional right, power, privilege, or immunity,” 5 U.S.C. §

706(2)(A). The Government based its rescission of DACA on its belief that the program is

unlawful. Gov. Br. 20. Accordingly, a declaratory judgment that DACA is lawful is entirely within



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the scope of the Court’s authority. The Government also asserts that any injunctive relief ordered

by the court should be limited to the individual Plaintiffs and should not be nationwide in scope.

Gov. Br. 58-59. Plaintiffs here include both national organizations and organizations from across

the country. Moreover, the Government’s position is not consistent with prevailing Fourth Circuit

principles. District Courts “have broad discretion when fashioning injunctive relief.” Ostergren

v. Cuccinelli, 615 F.3d 263, 288 (4th Cir. 2010); see also Richmond Tenants Org., Inc. v. Kemp,

956 F.2d 1300, 1308 (4th Cir. 1992) (discretion of district court to issue injunction extends to

litigation in other federal courts); Texas, 809 F.3d at 187-88 (asserting that the power of the district

court “is not limited to the district wherein the court sits but extends across the country.”)

        Approving a nationwide injunction under the facts here is consistent with the broad

principles justifying national injunctions. First, Plaintiffs reside throughout the United States; the

actions by the Government challenged here would violate the rights of DACA recipients in

jurisdictions throughout the country. See Richmond Tenants Org., 956 F.2d at 1308-09 (upholding

nationwide injunction against evictions of tenants in public housing without due process due to

national scope of eviction issue). Second, the need for national uniformity and consistency in the

application of the law is particularly important in addressing immigration policy. See Texas, 809

F.3d at 187-88 (upholding a nationwide injunction on the DAPA program due to the need for the

immigration laws of the U.S. to be “enforced vigorously and uniformly”). A more limited

injunction would necessarily mean that the fate of DACA recipients would be tied to the accident

of their geography, rather than to the merits of their case. Finally, enjoining the rescission of

DACA only as to Plaintiffs would not address the underlying Constitutional issue facing the

Government’s action; only a nationwide injunction can provide “complete relief to the plaintiffs.”

Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (internal citations omitted).




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                                      CONCLUSION

For the reasons set forth in the accompanying memorandum of law, Plaintiffs respectfully move

the Court to deny Defendants’ Motion to Dismiss or, in the Alternative for Summary Judgment.

  Dated: November 28, 2017                     Respectfully submitted,


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                                    CERTIFICATE OF SERIVCE

       I hereby certify that on November 28, 2017, a copy of the foregoing was served on all

counsel of record via the Court’s CM/ECF system.



                                            /s/ Dennis A. Corkery
                                            Dennis A. Corkery
                                            (D. Md. Bar. No. 19076)




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